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                  Exhibit 4
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.
    Plaintiffs,
                                              Case No. 4:21-cv-00271-MW-MAF
     v.
RICHARD CORCORAN, et al.,
    Defendants.


     DECLARATION OF DR. SYLVIA HURTADO IN SUPPORT OF
      PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
      RESTRAINING ORDER OR IN THE ALTERNATIVE FOR
                  PRELIMINARY INJUNCTION

     I, Sylvia Hurtado, hereby declare as follows:

      1.     I am a Professor of Education in the School of Education and

Information Studies at the University of California, Los Angeles (UCLA), and I

was director of UCLA’s Higher Education Research Institute (HERI) for over a

decade (2004-2015). HERI is the home of the longest running survey of college

students and faculty, with over 50 years of data collection in higher education. This

work involved survey administration and longitudinal research to assist campuses

in evaluating their students’ outcomes, faculty work, and campus programs.

      2.     In my scholarship, I have written on diverse students’ college

experiences, improving STEM pathways for underrepresented groups, and equity

and inclusion in higher education. During the course of my career, I have developed
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12 new surveys of higher education and, as director of HERI, was responsible for

overseeing the administration, revision, and research emerging from three annual

student surveys and a triennial Faculty Survey administered to institutions across

the country. My areas of teaching include courses on the Foundations of U.S.

Higher Education, Intergroup Dialogue: Building Facilitation Skills, and Research

Design. I also study STEM undergraduate education, using survey data, case

studies, and mixed quantitative and qualitative methods.

      3.     In recognition of my research, I was elected to the National Academy

of Education in 2019, and I will receive the 2022 Association for Institutional

research Sidney Suslow Award, which is a career award for advancing institutional

research in higher education. In 2015, I received the Exemplary Research

Achievement award from American Educational Research Association (AERA),

Division J Postsecondary Education, and I was elected to be an AERA Fellow in

2011. I also served on the Executive Board and Council of the American

Educational Research Association from 2019-2022. Additionally, I have received

several multi-million dollar awards from the National Institutes of Health (R01-

funded projects) to study the long term effects of undergraduate STEM education

and diversification of the scientific training workforce.

      4.     I have been retained by Plaintiffs in this litigation as an expert in

survey design, drafting, and administration, including as it specifically relates to the



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use of surveys in the higher education context. I am being compensated at a rate of

$400 per hour. My compensation is in no way connected with my opinions or the

resolution of this matter.

      5.     In connection with the preparation of this declaration, I examined

multiple drafts of the surveys that the survey drafters had prepared for possible use

by the Florida Board of Governors to, in compliance with its obligations under

§ 1001.706(13)(b), Fla. Stat. (2021), cause to be administered to faculty and

students at post-secondary institutions in Florida’s University System. Those draft

surveys are attached and identified with letters from A-II.

      6.     What follows is my expert opinion on the quality of the surveys’

purposes, design, and administration, as well as the potential utility of the results

should they become available. My opinions as set forth in this declaration are based

on my extensive experience in survey design, drafting, and implementation,

including specifically as it relates to the survey of students and faculty in higher

education.

      7.     Foremost among my concerns is that the surveys lack a clear

educational purpose or connection to learning outcomes. Normal safeguards and

research ethics for studies that require the participation of human subjects include

that participants honestly informed of (a) a survey’s purpose, and (b) how its results

will be used so that they can weigh the relative harms and benefits of participation.



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If the purpose or use of the information will be withheld from participants, the

institutional review board requires the researcher provide a statement at the time of

consent about information that is being withheld and that subjects will receive

additional information, or debriefing at the end of their participation. See Ex. R to

Velez Decl. at FSU001975. Because the educational purpose of these surveys, and

thus the potential benefit of participation, remain unarticulated, subjects will have

no clear benefit to weigh against the potential harms that could result from revealing

their viewpoints. This is likely to result in the surveys’ responses comprising a

sample that will lack representativeness as a basis for projections regarding the total

population. This issue is likely to worsen in subsequent years that the surveys are

administered as the novelty of the surveys and the accompanying boost to

participation lessens with time, with respondents mostly new entrants or employees.

There is limited faculty turnover and for this reason HERI offers those surveys on

a triennial basis; the same respondents are unlikely to respond to the same survey

every year. Students today receive multiple surveys in the same academic year. This

survey could also interfere with and affect the response rate to other student surveys

or assessments central to educational goals.

      8.     The highly charged political context surrounding these surveys will

compound this issue. Faculty and staff who believe that the surveys are a form of

harassment, aimed at bringing to light viewpoints that differ from those the State



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government believes acceptable so that they may be punished, are likely to abstain

because they view the potential harms of participation as far outweighing its

benefits. Those who do choose to participate may do so because they see a benefit

in influencing the data one way or the other for political reasons. This inevitable

self-selection will further ensure that the responses are not representative of views

found in the total population. The few who do participate may skew the aggregated

data, undermining the integrity of the survey results.

      9.     Further, the lack of nationally comparative information suggests that

interpretations of the survey result may lead to erroneous conclusions. Florida

institutions may actually reflect national norms, and participation in several national

surveys would be a better approach to put its own higher education institutions in

context. These national instruments have been in use for several years and also offer

greater assurances of institutional use for educational improvement See infra, ¶16.

      10.    These fundamental flaws ensure that, regardless of the form and

methodology involved, the data that results from these surveys will not be useful

for any meaningful purpose. However, based on my review of the drafts that have

been created and produced thus far of these surveys, I also have many serious

concerns regarding their specific design and implementation.

      11.    Some of these concerns reflect basic violations of best practices of

survey drafting. For example, to clarify the information that is being sought from



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participants and to avoid their confusing requests for their opinion with factual

questions about the state of the world, best practices for these types of surveys is

that the survey stems begin with “In your opinion . . . ” None of the surveys I

reviewed included this clarification. Question references about a context in general

invites hypothetical responses rather than actual in or out-of-class experiences. See,

e.g., Survey U at FSU001756 (“[T]hink about being at your school in a class that

was discussing a controversial issue about Sexual Orientation. How comfortable or

reluctant would you feel about speaking up and giving your views on this topic?”).

Students may be uncomfortable with and/or lack knowledge on the topic in general,

whether or not the topic ever actually came up in a class they took.

      12.    The design of the student surveys I reviewed also differed from that of

the staff and faculty surveys I reviewed. While some variation across surveys is to

be expected based in the different roles that participants fill, several of the questions

for students seem to assume that faculty are the source of bias. See, e.g., Survey U

at FSU001756-57 (inquiring how concerned students are that “[t]he instructor will

give [them] a lower grade because of [their] views”). While there is a question about

repression of views in home units for staff, there is no similar question about

repression or bias against faculty within their home departments. Compare, e.g.,

Survey R at FSU001786-87 with Survey Q at FSU001778-79. These differences

could indicate that the faculty are being targeted, which would be consistent with



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the view that the surveys are designed to produce data to justify the state

government’s belief that faculty are “indoctrinating” students and limiting

academic freedom. However, I cannot conclude that with certainty because it is

unclear if any of the surveys I reviewed are in its final form. Nevertheless, the

differentiation in the drafts is itself concerning.

      13.    Another major issue is that—across the draft surveys—the questions

are so limited in scope that they fail to rule out alternative explanations for student

discomfort in speaking out in the classroom or outside of the classroom. This

hinders interpretation because there are multiple possible explanations for students’

discomfort or inability to speak out, and many of them do not bear on intellectual

freedom or viewpoint diversity (e.g., introverted personality type, conflict

avoidance, size of classroom, lack of knowledge, etc.). The notion of ruling out

alternative explanations is basic to rigorous social science evidence and research.

Further, most evidence-based theories indicate that learning can be an

uncomfortable experience, especially when students learn to distinguish between

different forms of authority and are presented with science-based evidence that

counter their embedded worldviews. The survey drafts fail to ask any questions

about how faculty create spaces where diverse viewpoints are shared, students

develop a sense of their personal voice, and students learn deliberative processes




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that arise out of conflict. These are part of pedagogies for engaging differences,

encouraging students to test their assumptions, and revise their thinking.

        14.   The surveys’ very design and implementation also seem to be based

on    erroneous   assumptions.    The      lead   researcher   intends   to   associate

social/demographic characteristics with viewpoints and the study is predicated on

the hypothesis that certain faculty are unduly influencing students in terms of

political view. The survey questions appear to be aimed at confirming this

supposition, but the design will not support this conclusion and it is not reflected in

the evidence on the subject. First, students have choices in terms of their instructor,

major, and courses that fulfill degree requirements, as well as their out-of-classroom

activities. Requirements for degrees do require students to take courses outside of

their comfort zone, but again there are many choices for students to fulfill general

education requirements. Students are often in environments of their own choosing,

and studies show that college peers are more influential than faculty in influencing

a wide range of views and outcomes, especially at large public institutions where

student contact with faculty is minimal.

        15.   Aside from the methodological shortcomings of the surveys, which

will render their results questionable and useless for any academic purpose, I have

grave concerns about the motivations underlying their administration. Higher

education institutions in the U.S. are not and should not become instruments of the



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state, subject to the whims of politicians. American higher education is distinct from

that of other countries that control knowledge, student choice, and appoint new

leadership of flagship institutions when political parties change in office. That is,

post-secondary institutions in the U.S. not only have academic freedom (the

freedom to teach and freedom to learn for individuals) but also freedom of the

academy--institutions with independence that stand apart from the state and can

offer a critique of governmental authority, and also pursue areas of research that

break boundaries in social and scientific areas. It is why we have the most

outstanding graduate education in the world and lead in innovation. The quality of

institutions is called into question when states and governing boards assert political

leanings and disrupt administrative shared governance or faculty decision-making

around the curriculum, instruction, and educational goals that ensure a prepared

workforce and global citizens. To question our faculty is to question graduate

education in the U.S., long-standing norms for shared governance supported by the

American Association of University Professors, and numerous educational

associations that establish quality standards for degrees.

      16.    For these and other reasons, my expert opinion is that these surveys

should not be administered to students, faculty or staff at Florida’s post-secondary

institutions, and, if used, these surveys will not result in reliable, meaningful, or

valid results. Finally, as any social scientist knows, even reliable data collected from



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a thoughtfully drafted and properly administered survey can be misused,

misconstrued, and mischaracterized to manufacture support for conclusions that are

not actually scientifically supported. This is all the more true of surveys that inquire

into sensitive and personal subjects, including political and ideological viewpoints.

For this reason, it is critical that social scientists take extreme care in not only

ensuring that the surveys they prepare, use, or interpret are drafted and administered

in compliance with the utmost standards in the consideration of participants, but

also that access to and use of the data is strictly limited. For surveys administered

by HERI (and most research institutes offering surveys in higher education), reports

and data are shared with institutional research offices that report directly to the

President or Provost for the use of educational purposes. No other entity receives

the information without institutional approval of release, and findings are shared

with campuses prior to public release. Because this survey data goes directly to a

lead researcher and his students (to benefit their own research), it appears that the

data and reports will bypass institutional involvement and will not be used for post-

secondary improvement. In this way, too, I have grave concerns about the use of

these surveys.



Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury
that the foregoing is true and correct.




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                 Executed this 26th day of March, 2022, in Los Angeles,

California.



                 ___________________________________

                 Dr. Sylvia Hurtado




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                        EXHIBIT A
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Date:              Fri, 10 Sep 2021 1:10:02 PM -0400
Sent:              Fri, 10 Sep 2021 1:09:52 PM -0400
Subject:           FLBOG    Survey Project: Update Memorandum #3 and Final Working Drafts of the Surveys
From:              Timothy Chapin <tchapin@fsu.edu>
To:                Jones, Tim <Tim.Jones@flbog.edu>; Rogers, Jon <Jon.Rogers@fibog.edu>;
                   Clark, Kyle <Kyle.Clark@fsu.edu>; Sally McRorie <smcrorie@admin.fsu.edu>; Pamela Ray
CC:                <pray2@fsu.edu>; L Kateri Kitchens <Ikitchens@fsu.edu>; Jessica Lambdin <jlambdin@fsu.edu>; Jane
                   Terrell <jterrell@fsu.edu>;
                   FLBOG Intellectual Freedom Assessment Project Update Memorandum #3 (September 10 2021).pdf;
Attachments:       FLBOG Faculty Survey                FLBOG Student Survey (9-10-21).pdf; FLBOG Staff Survey (9-10-
                   21).pdf
Vice Chancellor Jones and Assistant Vice Chancellor Rogers:
Please find attached the Update Memorandum #3for the /nte/lectual Freedom and Viewpoint Diversity
Assessment Project for which | am serving as the Principal Investigator of the FSU team. | have also attached
final working draft versions of three surveys (student survey, faculty survey, staff survey).
Over the last month, the research team has worked through many drafts of these surveys. This has been
challenging project on such atight timeline, but we feel generally good with where the surveys currently stand.
| would note that the FSU team believes that deliberate, measured approach to the survey administration is
best, which would allow time for any required further refinements to the survey instruments.
We also lay out in this Final Memorandum an important set of survey administration and analysis issues that
require further discussion and consideration. Membersof the FSU team have expressed a willingness to
continue to assist with the larger initiative, even inan unfunded capacity.
As ever, any questions or concerns, please let me know.
Tim
Dr. Tim  Chapin
Dean,   College of Social Sciences and Public Policy
Florida State   University
http://coss.fsu.edu/ @TimChapin @FSUCOSS
          College of Social Sciences and Public Policy
           Engaging Today's World, Producing Tomorrow's Leaders




                                                                                                    Defendants_002281
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                             Florida Board of Governors
          Intellectual Freedom and Viewpoint Diversity Assessment         Project
                                     Staff Survey

Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey.to be used by each institution
which considers the extent to which
                                      competing    ideas and perspectives are
presented and members of the college community, including students, faculty,
                                   beliefs
and staff, feel free to express their         and viewpoints on.campus and the    in

classroom.”
                                          Se




The goal of this anonymous survey is to obtain-opinions         intellectual freedom
                                                               on

and viewpoint diversity
                         [uni v
                             at
                                ersi t y name], drav ing your experiences
                                                          on                        as a

staff member there. You will be asked a
                                             number of ¢questions about these topics
and about              participation
             yourself. Your          voluntary.
                                          is    You are         freenot to answer          any
question     withdraw
            or   to   from the study        me. This survey should take
                                               at arly

approximately 10       minutes
                         to
                               complete.                  oS




Responses willto:be analyzed for theentire institution findings
                                                         and         reported
                                                                        will be
by FLBOG the State Legislature as. required. Only grouped responses
   the                                                                              will be

reported;any data or                might compromise respondent’s identity
                           results that                   a                           will
not be
        published.
Intellectual Freedom and Viewpoint Diversity
On my campus,        how often:are students encouraged consider
                                                         to         a   wider variety of
viewpoints
   e
                 and

     Very Frequently
                      perspectives  social and political issues?
                                     on



   e
      Frequently
   e
     Occasionally
   e
      Rarely
   e
     Very Rarely
   e     Never
   e     Don’t Know




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On my campus, how often do university events and            presentations on social and
political issues present only one side of the issue?
   e   All ofthe Time
   e   Most of the Time
   e   About Half the Time
   e
       Only Some of the Time
   e    Never
   e    Don’t Know
On my campus, how often do instructors
unfair and one-sided manner?
                                               present’ s6ci
   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e    Never
   e    Don’t Know

On my campus, how’          often do. instructors éate an environment   thatis hostile to
certain social or
                 political views?
   e

   e
        Very Frequently
       Afequently”
       ‘ORarely.
          ccasionally
                        _




   e
        Very Rarely
   e    Never
   ©    Don’tKnow
On my campus, how often do students create          an   environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely




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   e   Never
   e   Don’t Know

On my campus, how often dostaff create           an      environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e   Never
   e   Don’t Know
Freedom of     Expression on Campus
                                          unit in. Which’aanon--controversial
                                                 i   n




Think about a time within your home                                           i    issue was

being discussed. How        comfortable: reluctant would you
                                  or                             feel about      contributing
to the discussion on this topic?

   e   | would be
                     comfortableleading this discussion.
                    very.
   e
               somewhat comfortable leading this.discussion
       |would be
   e   Neutral                        “oy
   e
                somewhat reluctant leading
       | would be                                        this discussion
   e
       would be yery reluctant leading this. discussion
Think about timewithin your home unitin which
               a                                            controversialissue on Race
                                                               a

was being discussed. comfortable
                    How                     or   reluctant would
                                                         you         feel about
contributing’to the discussion this topic?
                                   on

       | would be
   e
                  very comfortable leading this discussion
   e

   e
         would be
       Neutral
                  somewhat    comfortable leading this discussion

   e     would be somewhat reluctant leading this discussion
   e    would be very reluctant     leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about

contributing to the discussion on this topic?
   e   | would be   very comfortable    leading this discussion




                                                                                     Defendants_002302
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   e    | would be somewhat comfortable             leading this discussion
   e    Neutral
   e     would be somewhat reluctant leading this discussion
   e     would be very reluctant leading this discussion
Think about       atime within your home unit in which a controversial issue on
Religion was      being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
   e    would be very comfortable leading this discusion
   e

   e
          would be somewhat comfortable
        Neutral                                     leading this discussion
   e      would be somewhat reluctant          leading this discussion,
   e    | would be very reluctantleading this discussion
Think about a time within your home unit in which.a controversial. issue on
Gender      being discussed. How comfortable.orreluctant would you feel about
            was

contributing to the discussion on:thistopic?
   e      would be very  comfortable leadingthis discussion
   e

   e
          would be
        Neutral     4somewhat,comfortable
                                             leading this discussion
   e    | would be   somewhat reluctant leading this discussion
   e
            would bevery reluctant:leadingthis discussion
Thinkabout wastir being
               a time.
                    within your    home:         which controversial issue
                                              unit:in            a                     on  Sexual
Orientation                     discussed. How comfortable       or   reluctant would you feel
about   contributing       to   thediscussion onthis    topic?
   e    |   would be very comfortable leading this discussion
         would be
   e

   e    Neutral
                      sO        ewhat comfortable
                                           leading this discussion
   e     would be     somewhat
                             reluctant leading this discussion
   e     would be very reluctant leading this discussion



Your Political Views

Generally speaking, you would say that you think of yourself as a...
   e
     Republican




                                                                                        Defendants_002303
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   e
               Independent
   e           Democrat

Ona scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?

               Extremely liberal
               Somewhat liberal
               Moderate leaning liberal
               Moderate
               Moderate leaning conservative
   NOW




       .       Somewhat conservative
      Extremely conservative
Thinking about students at your                                            you Say   most.are politically to
                         (more liberal) or politically
the left of you
                                                              to the right,  of you    (more. conservative)    ?




   e           Most    are   to the
                                      left of me |
   e           About
               Don’t
                       as    many:are to the         left of me as   t

                                                                           right of
                                                                         the           me
   e
                       know
Thinking about           faculty
                        at your institution, would you say most are politically to
the left ofyou. (more liberal) or
                                                    politically
                                             to the right of you (more conservative)?
       Most are to the left ofme
           4




       Most are to theright of me.
                                                |
   e

   e   Most:      positions plose tomine
                      have
   e           Don’t   know”
Thinking about staff at your                   institution, would you say most are politically to the
left of you        (more liberal) or           politically to the right of you (more conservative)?
   e           Most    are   to the left of me
   e           Most    are   to the   right of me
   e           Most have      positions close to mine
   e           About as many          are to   the left of   me as to    the   right of me
   e           Don’t know




                                                                                                    Defendants_002304
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Demographic Information
Which of the following describes your race? You can select as many as apply.

   e    American Indian or Alaska Native
   e    Asian or Asian-American
   e    Black or African American
   e    Caucasian     White
                      or
   e    Pacific Islander
   e    Mixed
   e    Other
   e    Prefer Not to Answer
                                                       érigi
Are   you of   Hispanic, Latino/a/x, or Spanist
   e    Yes
   e    No
   e    Prefer Not to Answer


   e

   e    Female/Womait:
        Male/Man“
        TransgenderFemale/Woman
   e
        Transgender Male/Man
   e

   e
        Génder  Var
       Prefer Answer
                    i a
                 Not to
                        nt / N on- c onf o r m i n g
Whatis
         your. sexual orientation?
   e

   e

   e
       Heterosexual/Straight
        Asexual
        Bisexual
   e
        Gay
   e    Lesbian
   e    Pansexual
   e    Queer
   e    Not Listed Above
   e    Prefer Not to Answer

What is your     primary religious affiliation, if any?




                                                                        Defendants_002305
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   Evangelical Protestant
   Mainline Protestant
   Historically Black Protestant
   Catholic
   Latter   Day Saints / Mormon
   Orthodox Christian
   Jehovah’s Witness
   Other Christian
   Unitarian / Universalist
   Jewish
   Muslim
   Buddhist
   Hindu
   Other religion
   Atheist
   Agnostic
   No religious affiliation / None
   Prefer Not to Answer




                                                              Defendants_002306
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                             Florida Board of Governors
          Intellectual Freedom and Viewpoint Diversity Assessment                   Project
                                   Student Survey

Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) wasasked to create “an
objective, nonpartisan, and statistically valid       survey
                                                   to be used by each institution
which considers the extent to which
                                             competing/d
                                                  eas.and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their
classroom.”
                                           beliefs and viewpoints on:campus and            in   the


The goal of this anonymous
                           survey is to           obtain:opinions
                                                        ra
                                                          wing
                                                                    intellectual
                                                                  your
                                                                 on
                                                                      on

                                                                       experiences
                                                                                        freedom
                                                                                              as a
                                           tyr
student there. You will be
about yourself. Your
                              asked anumberof  questi o ns
                        participation voluntary. You free
                                     is              are
                                                                     about these     topics and
                                                                           not to answer   any
question or to withdraw:from the study, at any time.            This survey should take
approximately 10m nutes to       complete.
Responses  will be analyzedfor the entire institution and findings will be reported
by the FLBOG: to the.StateLegislature as. required. Only grouped responses will be
                                              ‘




repo fed; any data orresults
                             that might compromise respondent’s identity will
                                                                 a

not be
        publ i s hed.
                                      co
Intellectual   Freedom and Viewpoint Diversity           on   My Campus
On my campus,     how.often. are students encouraged consider   to             a   wider variety of
viewpoints
   e
              and
                  perspectives
     Very Frequently
                          —
                                  social and
                                 on                 political
                                                    issues?


   e
      Frequently
   e
     Occasionally
   e
      Rarely
   e
     Very Rarely
   e     Never
   e     Don’t Know




                                                                                         Defendants_002292
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On my campus, how often do university events and       presentations on social and
political issues present only one side of the issue?
   e    All ofthe Time
   e    Most of the Time
   e    About Half the Time
   e
        Only Some of the Time
   e    Never
   e    Don’t Know
On my campus, how often do instructors
unfair and one-sided manner?
                                          presents < cial       and   political issues in an




                                                            >
   e
        Very Frequently
   e
        Frequently
   e
        Occasionally
   e
        Rarely
   e
        Very Rarely
   e    Never
   e    Don’t




   e
        Very   Frequently
        Frequently
   e
       “Occasi
        Rarely
               o nal l y
   e

   e
        Very
        Never
               Rarely
   e    Don’t   Know
On my campus, how often do students create     an   environment that is hostile to
certain social or political views?

   e
        Very Frequently
   e
        Frequently
   e
        Occasionally
   e
        Rarely
   e
        Very Rarely




                                                                                    Defendants_002293
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   e     Never
   e     Don’t Know

On my campus, how often dostaff create                  an   environment that is hostile to
certain social or political views?

   e
         Very Frequently
   e
         Frequently
   e
         Occasionally
   e
         Rarely
   e
         Very Rarely
   e     Never
   e     Don’t Know
Freedom of  Expression on My Campus.
Think about being at your school in a class that was.
                                                                      diabout
                                                                         scussispeaking
                                                                                ng ‘Non-Controversi
                                                                                 a
                                                                                                    al
issue. How comfortable or
your views on this topic?
                                      reluctant would youfeel                          up and giving

   e     | would be                  giving my Views
                        very.comfortable
   e

   e
          would be
         Neutral
                        somewhatcomfortable givingmyvviews
                        ©




   e      would be  somewhat reluctantgiving my views
   e     |
           would be.veryreluctant giving, my views
Think4bout
issue
            being at your school i
     about, Race. How comfortable
                                            ina    class that     discussing a controversial
                                                                was

                                                  or reluctant would you feel about speaking up
and    giving   your   views   on
                                    this topic?
   e      would   be
                   very        comfortable
                                      giving my views
   e

   e
          would be
         Neutral
                        somewh at comfortablegiving my views
   e      would be somewhat reluctant giving my views
   e      would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
Political issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
   e      would be very comfortable           giving my views




                                                                                            Defendants_002294
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   e      would be somewhat comfortable giving my views
   e    Neutral
   e      would be somewhat reluctant giving my views
   e    | would be very reluctant giving my views

Think about being at your school in a class that was discussing a controversial
issue about Religion. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
          would   be very comfortable giving my
   e
                                                            views
   e

   e
          would
        Neutral
                  be somewhat comfortable
                                                  giving             vit

   e

   e
        | would
          would
                  be somewhat reluctant
                  be very reluctant
                                              gi v
                                        giving fy:
                                                   i n g my
                                                      views
                                                                  views


Think about being at your schoolin a          class that     discussing a controversial
                                                              was
issue about Gender. How comfortable
                                                  reluctant would you feel about speaking
                                                 or

up and giving your views on this.
                                        topic?
   e    | would be      very   comfortable: giving my. views
   e

   e    Neutral
               somewhat comfortable giving views.
         would be

   e
               somewhat reluctantgiving my views
         would be
   e
      would bevery reluctantgiving my views
Thinkabout being atyour school inaclass,that discussing       was          a   controversial


about
   e
        speaki n g and giving your views
                   up
         would be very comfortable giving
                                                      on   this

                                                      my views
                                                                  topic?

                  be:
   e

   e
        | would
        Neutral
                        somewhat comfortable          giving my views
   e     would be somewhat reluctant giving my views
   e     would be very reluctant giving my views
lf you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following
would occur?

The instructor would criticize my views          as   offensive.




                                                                                       Defendants_002295
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     e   Not at all concerned
     e
         Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely concerned
The instructor would       give me a lower grade because of my views.
     e   Not at all concerned
     e
         Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely concerned
Other students would criticize my views as
   e  Not at all concerned
                                                 ‘offensive,
   e
      Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely    coheed
Someone would
     e
         Not.at all
                      post critical
                      concerne:
                                      comments abou   my views on social media.

         Slightly concerned
     e
         Somewhat concerned
     e
          Very concerned <>.
     e
         Extremely concerned
YourPoliticalViews
Generally speaking, you would say that you think of yourself as a...
     e   Democrat
     e
         Independent
     e
         Republican
On   scale from 1 to 7, where1 is extremely liberal, 7 is extremely conservative,
     a
and 4 is exactly in the middle, where would you place yourself?




                                                                                  Defendants_002296
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         Extremely liberal
   PE    Somewhat liberal
         Moderate leaning liberal
         Moderate
         Moderate leaning conservative
   NOW




         Somewhat conservative
       Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
   e     Most   are   to the left of me




                                                              :
   e     Most   are   to the   right of me              Ai
                                                       fo
   e     Most have     positions close to ming”
   e

   e
         About as many
         Don’t know
                               are to
                                                  right ofnme”
                                        the left of   me    as to   the



Thinking      faculty your institution, would you say
          about                 at                                politically   most are     to
         you (more liberal) politically to the
the left of
   e
      Mostaretotheleftofme
                                        or
                                               tight:
                                                  —   of you (more conservative)?

   e     Most   are   to.the   right of me
                                                       |
         Most have
                   positions close mine      to
   e
         About.as many are to leftof as
                  s
                                                      me.         to the   right of me

Thinkingabout staff at your    institution, would you say most are politically to the
left of you
            (more liberal) or politically to the right of you (more conservative)?
   e     Most   areto the left of. me
   e     Most   are   totherightclose
                                of        me

         Most have    positionsto the leftmine
                                             to
   e     About as     many are            of          me as       to the   right of me
   e     Don’t know


Information About You

What     college is home to your primary major or program of study?




                                                                                           Defendants_002297
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At what level    are   you in your studies?
   e    Freshman
   e
        Sophomore
   e    Junior
   e    Senior
   e    Graduate Student
   e    Prefer Not to Answer

Which of the     following describes your race? You            elect as many as apply.
   e    American Indian or Alaska Native
   e    Asian or Asian-American          fu
   e    Black or African American               ij
   e    Caucasian or White
   e    Pacific Islander
   e    Mixed
   e    Other
   e    Prefer Not to
                         Answer
Are

   e
      you of
        Yes
               Hispanic,Latino/a/x, Spanish,otigin?
                                     or




   e
       Prefer Notto: Answer
With   which   sex or
                        genderidentity do     you   most identify?
   e
        Female/Woman
        Male/Man.
   e
        Transgender Female/Woman
   e

   e
        Transgender      Male/Man
        Gender Variant/Non--conforming
   e    Prefer Not to Answer

What is your sexual orientation?

   e
        Heterosexual/Straight
   e    Asexual
   e    Bisexual




                                                                                  Defendants_002298
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   e
       Gay
   e   Lesbian
   e   Pansexual
   e   Queer
   e   Not Listed Above
   e   Prefer Not to Answer

What is your primary religious affiliation, if any?
   e
       Evangelical Protestant
   e   Mainline Protestant
   e
       Historically Black Protestant
   e   Catholic
   e   Latter   Day Saints / Mormon
   e   Orthodox Christian
   e   Jehovah’s Witness
   e   Other Christian
   e   Unitarian / Universalist
   e   Jewish          os

   ¢   Muslim
                    A
                              OD»
   e   Buddhist
   e   Hindu
       Other religion
   e
       Atheist
   e
       ‘Agnostic               / None.
        Noreligiousaffiliation
       Prefer
              Nat to Answer
                                       |
   e




                                                                Defendants_002299
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                             Florida Board of Governors
          Intellectual Freedom and Viewpoint Diversity Assessment                Project
                                      Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) wasasked to create “an
objective, nonpartisan, and statistically valid    survey
                                                   to be used by each institution
which considers the extent to which
                                         competing/d
                                                  eas.and perspectives are
presented and members of the college community, including students, faculty,
                                   beliefs
and staff, feel free to express their      and viewpoints on: campus and the              in

classroom.”
The goal of this anonymous
                             survey  is   obtaili opinions intellectual freedom
                                          to                       on

and viewpoint diversity
                           [university.
                          at
                                        name], drawing your experiences
                                                              on                           as a

faculty member there. You will beasked. a number ofquestions about these
topics and about yourself. Your participation is. voluntary. You   free  are         not to
answer  any question or towithdraw from the study at any time. This survey
should take
           approximately minutes to institution
                            10         mplete.
Responses willto analyzed for the
                   be                   entire      findings and               will be   reported
by FLBOG: the.State Legislature’as.
   the
                                           required.
                                              Only grouped                 responses will be
repo   fed; any dataorresults that    mightcompromise         a   respondent's identity will
not be
        publ i s hed.
Intellectual   Freedom and Viewpoint Diversity
On my campus,     how.often. are students encouraged considerto            a   wider variety of
viewpoints
   e
              and
                  perspectives
     Very Frequently
                          —
                                  social and
                                 on              political
                                                    issues?


   e
      Frequently
   e
     Occasionally
   e
      Rarely
   e
     Very Rarely
   e     Never
   e     Don’t Know




                                                                                         Defendants_002284
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On my campus, how often do university events and            presentations on social and
political issues present only one side of the issue?
   e   All ofthe Time
   e   Most of the Time
   e   About Half the Time
   e
       Only Some of the Time
   e    Never
   e    Don’t Know
On my campus, how often do instructors
unfair and one-sided manner?
                                               present’ s6ci
   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e    Never
   e    Don’t Know

On my campus, how’          often do. instructors éate an environment   thatis hostile to
certain social or
                 political views?
   e

   e
        Very Frequently
       Afequently”
       ‘ORarely.
          ccasionally
                        _




   e
        Very Rarely
   e    Never
   ©    Don’tKnow
On my campus, how often do students create          an   environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely




                                                                                 Defendants_002285
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   e   Never
   e   Don’t Know

On my campus, how often dostaff create        an   environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e   Never
   e   Don’t Know
Freedom of  Expression on Campus
Think about teaching a class session that centered’      upon youdiscussion:aboutof leading
                                                                a                a   Non-
Controversialissue. How
the discussion onthis topic?
                            comfortable or relucta it would          feel


   e    would be    very. comfortable leading this discussion.
   e    would be    somewhat comfortable leadingthis discussion
                                               y
   e   Neutral
   e    would be  somewhat reluctant leading this discussion
   e
       would be very reluctant leading this discussion
Think
      about teaching. class session that ééntered upon discussion of
                        a                                       a                a

controversial issue Race. How.comfortable reluctant would you feel about
                      on                            or

leadingthe
            disbecussion   ontopic?
                                this
   e    would       very comfortable
                                   leading this discussion
   e

   e
        would be
       Neutral
                    somewhat comfortable  leading this discussion
   e    would be    somewhatreluctant leading this discussion
   e    would be very reluctant leading this discussion
Think about teaching a class session that centered upona discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
   e   | would be   very comfortable   leading this discussion




                                                                                     Defendants_002286
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      e     | would be somewhat comfortable           leading this discussion
      e     Neutral
      e      would be somewhat reluctant leading this discussion
      e      would be very reluctant leading this discussion
 Think about teaching a class session that centered upona discussion of a
 controversial issue on Religion. How comfortable or reluctant would you feel
 about leading the discussion on this topic?
      e      would    be very comfortable leading this di
      e      would    be somewhat comfortable
                                                      leadinthisg   ris
                                                                          discussion


                                                              S
      e     Neutral
                                                leadfagdiscussion
                                          leading‘ is discussion,
      e      would    be somewhat reluctant
      e      would    be very reluctant

 Think about teaching a class session that          centered upon    discussion ofa
 controversial issue on Gender. How            comfortable or reluctant would you feel
 about leading the discussion on
                                          this topic?
      e     | would be   very   comfortable leading this discussion
      e

      e
             would be
            Neutral
                         somewhat comfortable leading this discussion
      e      would be    somewhat reluctant leading this discussion
      e     |   would bevery    reluctant. leading thisdiscussion
Think about  teachi
 controversial
                    n g, class session that centered
                                a
                     on‘Sexual Orientation. How
                      issue
                                                                    upon discussion of a
                                                                             a
                                                               comfortable or reluctant would
 you      feel about leading the discussion      on   this   topic?
      e     |   would be very comfortable leading this discussion
      e

      e
             would be
            Neutral
                         somewhat comfortable  leading this discussion
             would be somewhat reluctant leading this discussion
      e      would be very reluctant leading this discussion

 As   you think aboutleading the discussion on one of these controversial issues
 during a class, how concerned would you be that the following would occur?
 Students would criticize my views          as   offensive.
    e  Not at all concerned
    e
       Slightly concerned




                                                                                       Defendants_002287
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   e       Somewhat concerned
   e
           Very concerned
   e
           Extremely concerned
Someone would           post critical comments about my views on social               media.
   e       Not at all concerned
   e
           Slightly concerned
   e       Somewhat concerned
   e
           Very concerned
   e
           Extremely concerned
Your Political Views

Generally speaking, you would say tha
   e
     Republican
                                                     ottthink   of   yourself.as a.
   e
     Independent
   e       Democrat

Ona scale from 1 to 7, where 1 is             extremel y ’liberal, 7is extremely conservative,
and 4is exactlyin
                       the:middle,         where   would. ‘ou Blace yourself?
           Extremely liberal
           Somewhat liberal,
           Moderate leaning liberal
                                              |




       .


           Moderate
           Moderate lea ning       conservative
           Somewhat conservative
   NO




      Extremel y conservative
Thinking  about      students at your institution, would you say most politically to
                                                                                   are
the left of you     (moreliberal) or politically to the right of you (more conservative)?
   e       Most   are   to the   left of me
   e       Most   are   to the   right of me
   e       Most have     positions close to mine
   e       About as many         are   to the left of me as to the   right of me
   e       Don’t know




                                                                                               Defendants_002288
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Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
   e    Most   are   to the left of me
   e    Most   are   to the   right of me
   e    Most have     positions close to mine
   e    About as many are to the left of             me as      to the   right of me
   e    Don’t know

Thinking about staff at your institution, would you. sa¥ most are politically to the
left of you (more liberal) or politically to the
        Most   are   to the left of me
                                                 right F you (more conservative)?
                                                                   PO



   e    Most   are   to the   right of me
   e    Most have     positions close to mine
   e    About as many         are   to the left of   me   as
                                                               to the right of me)
   e    Don’t know


Demographic Information
In which college is your primary appointment?
                  a




       FullProfessor
   e
       Associate Professor
        Assistant Professor                 we
        Instructor/LectAnswer
                        urer/Specialized
   e

   e
                                                     Faculty (non-tenure track)
   e    Prefer Not to

Are   you tenured?
   e    Yes
   e    No
   e    Not   Applicable
   e    Prefer Not to Answer

Which of the    following describes your race? You can select as many as apply.




                                                                                       Defendants_002289
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   e    American Indian    Alaska Native
                           or
   e    Asian or Asian-American
   e    Black or African American
   e    Caucasian or White
   e    Pacific Islander
   e    Mixed
   e    Other
   e    Prefer Not to Answer
Are   you of Hispanic, Latino/a/x,   or   Spanishorigin
                                                    Mi
   e    Yes

   e    Prefer Not to Answer                 Ay
With which    sex or   gender identity do you   Twitst identify?
   e
        Female/Woman
   e
        Male/Man
   e

   e
        Transgender     Female/Woman
        Transgender Male/Man
   e    Gender
                Variant/Non-conforming
   e    Prefer Not to
                     ‘Answer

   e
        eerosewal/Stight
       Mee
       Asexual
   e
        Bisexual.
        Gay
   e    Lesbian
   e    Pansexual
   e    Queer
   e    Not Listed Above
   e    Prefer Not to Answer

What is your  primary religious affiliation, if any?
   e
        Evangelical Protestant
   e    Mainline Protestant




                                                                   Defendants_002290
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   e
       Historically Black Protestant
  e    Catholic
  e    Latter   Day Saints / Mormon
   e   Orthodox Christian
   e   Jehovah's Witness
   e   Other Christian
  e    Unitarian / Universalist
   e   Jewish
  e    Muslim
  e    Buddhist
  e    Hindu
  e    Other religion
  e    Atheist
  e
       Agnostic
       No religious affiliation /
  e

  e    PreferNotto Answer
                                 Nene
Which of the
                following describes your faculty appointment?
   e   Tenure    track/untenured faculty member
   e   Tenured     faculty member.         Lo
   e
       Specialized/Non-tenur track




                                                                Defendants_002291
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                        EXHIBIT B
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Date:           Mon, 15 Nov 2021 10:22:33 AM -0500
Sent:           Mon, 15 Nov 2021 10:22:29 AM -0500
Subject:        Intellectual diversity survey
From:           Rogers, Jon
                                   <Marshall.Criser@flbog.edu >; Jones, Tim <Tim.Jones@flbog.edu >;
                Criser III, Marshall
To:             England, Christy <Christy.England@flbog.edu >; Shirley, Vikki <Vikki.Shirley@flbog.edu >;
                Jones, Jason <Jason.Jones@flbog.edu >;
Attachments:    FLBOG Student Survey (Nov 15 2021).docx; image001
FYI.
In preparation for tomorrow’s ZOOM     call, Tim Chapin has provided   an   updated draft survey with a few final
edits that are highlighted (see attached).

Jon

Jon Rogers, PhD
Assistant Vice Chancellor
Special Projects
Board of Governors
State University System Florida
                        of
325 W. Gaines St. Suite 1614
Tallahassee, Florida 32399
850-245-0609
www.flbog.edu
      STATE UNIVERSITY
      SYSTEM OF FLORIDA




                                                                                                  Defendants_007101
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                             Florida Board of Governors
          Intellectual Freedom and Viewpoint Diversity Assessment                   Project
                                   Student Survey

Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) wasasked to create “an
objective, nonpartisan, and statistically valid       survey
                                                   to be used by each institution
which considers the extent to which
                                             competing/d
                                                  eas.and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their
classroom.”
                                           beliefs and viewpoints on:campus and            in   the


The goal of this anonymous
                           survey is to           obtain:opinions
                                                        ra
                                                          wing
                                                                    intellectual
                                                                  your
                                                                 on
                                                                      on

                                                                       experiences
                                                                                        freedom
                                                                                              as a
                                           tyr
student there. You will be
about yourself. Your
                              asked anumberof  questi o ns
                        participation voluntary. You free
                                     is              are
                                                                     about these     topics and
                                                                           not to answer   any
question or to withdraw:from the study, at any time.            This survey should take
approximately 10m nutes to       complete.
Responses  will be analyzedfor the entire institution and findings will be reported
by the FLBOG: to the.StateLegislature as. required. Only grouped responses will be
                                              ‘




repo fed; any data orresults
                             that might compromise respondent’s identity will
                                                                 a

not be
        publ i s hed.
                                      co
Intellectual   Freedom and Viewpoint Diversity           on   My Campus
On my campus,     how.often. are students encouraged consider   to             a   wider variety of
viewpoints
   e
              and
                  perspectives
     Very Frequently
                          —
                                  social and
                                 on                 political
                                                    issues?


   e
      Frequently
   e
     Occasionally
   e
      Rarely
   e
     Very Rarely
   e     Never
   e     Don’t Know




                                                                                         Defendants_007335
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On my campus, how often do university events and       presentations on social and
political issues present only one side of the issue?
   e    All ofthe Time
   e    Most of the Time
   e    About Half the Time
   e
        Only Some of the Time
   e    Never
   e    Don’t Know
On my campus, how often do instructors
unfair and one-sided manner?
                                          presents < cial       and   political issues in an




                                                            >
   e
        Very Frequently
   e
        Frequently
   e
        Occasionally
   e
        Rarely
   e
        Very Rarely
   e    Never
   e    Don’t




   e
        Very   Frequently
        Frequently
   e
       “Occasi
        Rarely
               o nal l y
   e

   e
        Very
        Never
               Rarely
   e    Don’t   Know
On my campus, how often do students create     an   environment that is hostile to
certain social or political views?

   e
        Very Frequently
   e
        Frequently
   e
        Occasionally
   e
        Rarely
   e
        Very Rarely




                                                                                    Defendants_007336
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   e     Never
   e     Don’t Know

On my campus, how often dostaff create                  an   environment that is hostile to
certain social or political views?

   e
         Very Frequently
   e
         Frequently
   e
         Occasionally
   e
         Rarely
   e
         Very Rarely
   e     Never
   e     Don’t Know
Freedom of  Expression on My Campus.
Think about being at your school in a class that was.
                                                                      diabout
                                                                         scussispeaking
                                                                                ng ‘Non-Controversi
                                                                                 a
                                                                                                    al
issue. How comfortable or
your views on this topic?
                                      reluctant would youfeel                          up and giving

   e     | would be                  giving my Views
                        very.comfortable
   e

   e
          would be
         Neutral
                        somewhatcomfortable givingmyvviews
                        ©




   e      would be  somewhat reluctantgiving my views
   e     |
           would be.veryreluctant giving, my views
Think4bout
issue
            being at your school i
     about, Race. How comfortable
                                            ina    class that     discussing a controversial
                                                                was

                                                  or reluctant would you feel about speaking up
and    giving   your   views   on
                                    this topic?
   e      would   be
                   very        comfortable
                                      giving my views
   e

   e
          would be
         Neutral
                        somewh at comfortablegiving my views
   e      would be somewhat reluctant giving my views
   e      would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
Political issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
   e      would be very comfortable           giving my views




                                                                                            Defendants_007337
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   e      would be somewhat comfortable giving my views
   e    Neutral
   e      would be somewhat reluctant giving my views
   e    | would be very reluctant giving my views

Think about being at your school in a class that was discussing a controversial
issue about Religion. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
          would   be very comfortable giving my
   e
                                                            views
   e

   e
          would
        Neutral
                  be somewhat comfortable
                                                  giving             vit

   e

   e
        | would
          would
                  be somewhat reluctant
                  be very reluctant
                                              gi v
                                        giving fy:
                                                   i n g my
                                                      views
                                                                  views


Think about being at your schoolin a          class that     discussing a controversial
                                                              was
issue about Gender. How comfortable
                                                  reluctant would you feel about speaking
                                                 or

up and giving your views on this.
                                        topic?
   e    | would be      very   comfortable: giving my. views
   e

   e    Neutral
               somewhat comfortable giving views.
         would be

   e
               somewhat reluctantgiving my views
         would be
   e
      would bevery reluctantgiving my views
Thinkabout being atyour school inaclass,that discussing       was          a   controversial


about
   e
        speaki n g and giving your views
                   up
         would be very comfortable giving
                                                      on   this

                                                      my views
                                                                  topic?

                  be:
   e

   e
        | would
        Neutral
                        somewhat comfortable          giving my views
   e     would be somewhat reluctant giving my views
   e     would be very reluctant giving my views
lf you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following
would occur?

The instructor would criticize my views          as   offensive.




                                                                                       Defendants_007338
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     e   Not at all concerned
     e
         Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely concerned
The instructor would       give me a lower grade because of my views.
     e   Not at all concerned
     e
         Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely concerned
Other students would criticize my views as
   e  Not at all concerned
                                                 ‘offensive,
   e
      Slightly concerned
     e   Somewhat concerned
     e
         Very concerned
     e
         Extremely    coheed
Someone would
     e
         Not.at all
                      post critical
                      concerne:
                                      comments abou   my views on social media.

         Slightly concerned
     e
         Somewhat concerned
     e
          Very concerned <>.
     e
         Extremely concerned
YourPoliticalViews
Generally speaking, you would say that you think of yourself as a...
     e   Democrat
     e
         Independent
     e
         Republican
On   scale from 1 to 7, where1 is extremely liberal, 7 is extremely conservative,
     a
and 4 is exactly in the middle, where would you place yourself?




                                                                                  Defendants_007339
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         Extremely liberal
   PE    Somewhat liberal
         Moderate leaning liberal
         Moderate
         Moderate leaning conservative
   NOW




         Somewhat conservative
       Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
   e     Most   are   to the left of me




                                                              :
   e     Most   are   to the   right of me              Ai
                                                       fo
   e     Most have     positions close to ming”
   e

   e
         About as many
         Don’t know
                               are to
                                                  right ofnme”
                                        the left of   me    as to   the



Thinking      faculty your institution, would you say
          about                 at                                politically   most are     to
         you (more liberal) politically to the
the left of
   e
      Mostaretotheleftofme
                                        or
                                               tight:
                                                  —   of you (more conservative)?

   e     Most   are   to.the   right of me
                                                       |
         Most have
                   positions close mine      to
   e
         About.as many are to leftof as
                  s
                                                      me.         to the   right of me

Thinkingabout staff at your    institution, would you say most are politically to the
left of you
            (more liberal) or politically to the right of you (more conservative)?
   e     Most   areto the left of. me
   e     Most   are   totherightclose
                                of        me

         Most have    positionsto the leftmine
                                             to
   e     About as     many are            of          me as       to the   right of me
   e     Don’t know


Information About You

What     college is home to your primary major or program of study?




                                                                                           Defendants_007340
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At what level    are   you in your studies?
   e    Freshman
   e
        Sophomore
   e    Junior
   e    Senior
   e    Graduate Student
   e    Prefer Not to Answer

Which of the     following describes your race? You            elect as many as apply.
   e    American Indian or Alaska Native
   e    Asian or Asian-American          fu
   e    Black or African American               ij
   e    Caucasian or White
   e    Pacific Islander
   e    Mixed
   e    Other
   e    Prefer Not to
                         Answer
Are

   e
      you of
        Yes
               Hispanic,Latino/a/x, Spanish,otigin?
                                     or




   e
       Prefer Notto: Answer
With   which   sex or
                        genderidentity do     you   most identify?
   e
        Female/Woman
        Male/Man.
   e
        Transgender Female/Woman
   e

   e
        Transgender      Male/Man
        Gender Variant/Non--conforming
   e    Prefer Not to Answer

What is your sexual orientation?

   e
        Heterosexual/Straight
   e    Asexual
   e    Bisexual




                                                                                  Defendants_007341
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   e
       Gay
   e   Lesbian
   e   Pansexual
   e   Queer
   e   Not Listed Above
   e   Prefer Not to Answer

What is your primary religious affiliation, if any?
   e
       Evangelical Protestant
   e   Mainline Protestant
   e
       Historically Black Protestant
   e   Catholic
   e   Latter   Day Saints / Mormon
   e   Orthodox Christian
   e   Jehovah’s Witness
   e   Other Christian
   e   Unitarian / Universalist
   e   Jewish          os

   ¢   Muslim
                    A
                              OD»
   e   Buddhist
   e   Hindu
       Other religion
   e
       Atheist
   e
       ‘Agnostic               / None.
        Noreligiousaffiliation
       Prefer
              Nat to Answer
                                       |
   e




                                                                Defendants_007342
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                        EXHIBIT C
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                            Florida Board of Governors
         Intellectual Freedom and Viewpoint Diversity Assessment Project
                                  Student Survey

Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233.to promote Intellectual
Freedom and Viewpoint Diversity gi
       a “an objective, nonpartisan, and Statistically valid survey to be used by each
institution which considers the extent to which competing ideas and perspectives
are presented and members of the
                                       college community, including students, faculty,
and staff, feel free to express their
classroom.”
                                      beliefs and viewpoints on
                                                               campus      andin the


This anonymous survey is intended toobtain
                                              opinions     on intellectual freedom and
viewpoint diversity at [university name], drawing
there. You will be asked questions about these
                                                      on your experiences as.a student
                                                           and about yourself. Your
                                                    topics
participation is voluntary.  You are free not to answer any question or to withdraw
from the
complete.
           study                 Survey
                  at any time. his          should takeapproximately    5 minutes to




intel ectual Freedom and ViewpointDiversity. My Campus
                                                  on
On my campus,   how often are students encouraged      to consider a wide   variety of
viewpoints and   perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
        Never
        Don’t Know




                                                                             Defendants_007102
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On my campus, how often   arethere opportunities to consider a wide variety of
viewpoints and perspectives outside of the classroom (such as in clubs, student
organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                       Defendants_007103
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Freedom of   Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
       | would be very comfortable giving my views. .
        | would be somewhat comfortable
        Neutral                            giving views
        | would be somewhat reluctant
                                         giving my views.
        | would be very reluctant giving my views
Think about beingin a class that   wasdiscussing controversial
                                             a                       or   difficultissue in
your primary area of study. How comfortable would      you   feel
                                                                    about speaking up
and   giving your views on thistopic?
        |would be very comfortable giving my. views:
        |would be somewhat
       Neutral
                              comfortable  giving views
        |would be somewhat reluctant giving myv views
         would be very
        |
                       reluctant giving my views
Think about being’in class that: was discussing a conttoversial
                       a                                             difficult political
                                                                     or

issue.How comfortablewould
on this topic?
                                     feel about
                                                speaki n g up.andgiving your views
                                                                os




     _ would be very comfortable giving. my views
        would be somewhat
        |
                              comfortable  giving my views
       Neutral
        |would be somewhat reluctant giving my views
        |would be
                   veryreluctant
                                  giving    views




                                                                                 Defendants_007104
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lf you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.

      e   Not at all concerned
      e   Slightly concerned
      e   Somewhat concerned
      e   Very concerned
      e   Extremely concerned
Other students would criticize my    views.
   e  Not at all concerned
   e  Slightly concerned
      e   somewhatconcerned      >




      e   Very concerned
     Extremely.concerned
      e



Someone would post critical comments about views on. social media.
     Notatallconcerned
      e

      e   Slightly concerned
  4     ‘Somewhat concerned
      . Very concerned
          Extremely concerned




                                                                         Defendants_007105
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When compared to the classroom,    are   you   more   likely or less likely to share your views on a controversial
issue in the following settings?

                             Much More          Somewhat .         About the         Somewhat          Much Less
Setting                        Likely           More Likely           Same           Less   Likely       Likely
Ata meal with friends



At   a   family gathering
At  workplace
     a
 with colleagues

On social media     (e.g.
 Twitter, Instagram, or
  Facebook)




                                                                                                            Defendants_007106
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Information About You

What is your               primary major or program of study?


At what level              are   you in your studies?
   e             Freshman
   e             sophomore
   e            Junior
   e             senior
   e             Graduate Student
   e             Prefer Not to Answer.

                                       describes your race? You can select many as apply
                                                                        1            s




Which of the               following                                            as

                American      Indian orAlaska     Native».
  eeeeoeeceee




                Asian or    Asian-American
                 Black or African American
                 Caucasian  or White
                _Pacific   Islander
                Mixed
          Other
          Prefer Not to            Answer.
Are you of.Hispanic,
   e            Yes
                                   Latino/a/x, or Spanish origin?
   e            No
   e             Prefer    Not to Answer
With which             sex or
                                  gender identity do you     most   identify?
                 Female
                 Male
                 Neither best describes      me

                 Prefer Not to Answer




                                                                                         Defendants_007107
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Where would you   place yourself on the following scale?
     Extremely liberal
     Somewhat liberal
     Moderate leaning liberal
     Moderate
     Moderate leaning conservative
     Somewhat conservative
     Extremely conservative
     Other
     Prefer Not to Answer




                                                               Defendants_007108
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                             Florida Board of Governors
          Intellectual Freedom and Viewpoint Diversity Assessment                Project
                                      Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) wasasked to create “an
objective, nonpartisan, and statistically valid    survey
                                                   to be used by each institution
which considers the extent to which
                                         competing/d
                                                  eas.and perspectives are
presented and members of the college community, including students, faculty,
                                   beliefs
and staff, feel free to express their      and viewpoints on: campus and the              in

classroom.”
The goal of this anonymous
                             survey  is   obtaili opinions intellectual freedom
                                          to                       on

and viewpoint diversity
                           [university.
                          at
                                        name], drawing your experiences
                                                              on                           as a

faculty member there. You will beasked. a number ofquestions about these
topics and about yourself. Your participation is. voluntary. You   free  are         not to
answer  any question or towithdraw from the study at any time. This survey
should take
           approximately minutes to institution
                            10         mplete.
Responses willto analyzed for the
                   be                   entire      findings and               will be   reported
by FLBOG: the.State Legislature’as.
   the
                                           required.
                                              Only grouped                 responses will be
repo   fed; any dataorresults that    mightcompromise         a   respondent's identity will
not be
        publ i s hed.
Intellectual   Freedom and Viewpoint Diversity
On my campus,     how.often. are students encouraged considerto            a   wider variety of
viewpoints
   e
              and
                  perspectives
     Very Frequently
                          —
                                  social and
                                 on              political
                                                    issues?


   e
      Frequently
   e
     Occasionally
   e
      Rarely
   e
     Very Rarely
   e     Never
   e     Don’t Know




                                                                                         Defendants_007247
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On my campus, how often do university events and            presentations on social and
political issues present only one side of the issue?
   e   All ofthe Time
   e   Most of the Time
   e   About Half the Time
   e
       Only Some of the Time
   e    Never
   e    Don’t Know
On my campus, how often do instructors
unfair and one-sided manner?
                                               present’ s6ci
   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e    Never
   e    Don’t Know

On my campus, how’          often do. instructors éate an environment   thatis hostile to
certain social or
                 political views?
   e

   e
        Very Frequently
       Afequently”
       ‘ORarely.
          ccasionally
                        _




   e
        Very Rarely
   e    Never
   ©    Don’tKnow
On my campus, how often do students create          an   environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely




                                                                                 Defendants_007248
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   e   Never
   e   Don’t Know

On my campus, how often dostaff create        an   environment that is hostile to
certain social or political views?

   e
       Very Frequently
   e
       Frequently
   e
       Occasionally
   e
       Rarely
   e
       Very Rarely
   e   Never
   e   Don’t Know
Freedom of  Expression on Campus
Think about teaching a class session that centered’      upon youdiscussion:aboutof leading
                                                                a                a   Non-
Controversialissue. How
the discussion onthis topic?
                            comfortable or relucta it would          feel


   e    would be    very. comfortable leading this discussion.
   e    would be    somewhat comfortable leadingthis discussion
                                               y
   e   Neutral
   e    would be  somewhat reluctant leading this discussion
   e
       would be very reluctant leading this discussion
Think
      about teaching. class session that ééntered upon discussion of
                        a                                       a                a

controversial issue Race. How.comfortable reluctant would you feel about
                      on                            or

leadingthe
            disbecussion   ontopic?
                                this
   e    would       very comfortable
                                   leading this discussion
   e

   e
        would be
       Neutral
                    somewhat comfortable  leading this discussion
   e    would be    somewhatreluctant leading this discussion
   e    would be very reluctant leading this discussion
Think about teaching a class session that centered upona discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
   e   | would be   very comfortable   leading this discussion




                                                                                     Defendants_007249
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      e     | would be somewhat comfortable           leading this discussion
      e     Neutral
      e      would be somewhat reluctant leading this discussion
      e      would be very reluctant leading this discussion
 Think about teaching a class session that centered upona discussion of a
 controversial issue on Religion. How comfortable or reluctant would you feel
 about leading the discussion on this topic?
      e      would    be very comfortable leading this di
      e      would    be somewhat comfortable
                                                      leadinthisg   ris
                                                                          discussion


                                                              S
      e     Neutral
                                                leadfagdiscussion
                                          leading‘ is discussion,
      e      would    be somewhat reluctant
      e      would    be very reluctant

 Think about teaching a class session that          centered upon    discussion ofa
 controversial issue on Gender. How            comfortable or reluctant would you feel
 about leading the discussion on
                                          this topic?
      e     | would be   very   comfortable leading this discussion
      e

      e
             would be
            Neutral
                         somewhat comfortable leading this discussion
      e      would be    somewhat reluctant leading this discussion
      e     |   would bevery    reluctant. leading thisdiscussion
Think about  teachi
 controversial
                    n g, class session that centered
                                a
                     on‘Sexual Orientation. How
                      issue
                                                                    upon discussion of a
                                                                             a
                                                               comfortable or reluctant would
 you      feel about leading the discussion      on   this   topic?
      e     |   would be very comfortable leading this discussion
      e

      e
             would be
            Neutral
                         somewhat comfortable  leading this discussion
             would be somewhat reluctant leading this discussion
      e      would be very reluctant leading this discussion

 As   you think aboutleading the discussion on one of these controversial issues
 during a class, how concerned would you be that the following would occur?
 Students would criticize my views          as   offensive.
    e  Not at all concerned
    e
       Slightly concerned




                                                                                       Defendants_007250
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   e       Somewhat concerned
   e
           Very concerned
   e
           Extremely concerned
Someone would           post critical comments about my views on social               media.
   e       Not at all concerned
   e
           Slightly concerned
   e       Somewhat concerned
   e
           Very concerned
   e
           Extremely concerned
Your Political Views

Generally speaking, you would say tha
   e
     Republican
                                                     ottthink   of   yourself.as a.
   e
     Independent
   e       Democrat

Ona scale from 1 to 7, where 1 is             extremel y ’liberal, 7is extremely conservative,
and 4is exactlyin
                       the:middle,         where   would. ‘ou Blace yourself?
           Extremely liberal
           Somewhat liberal,
           Moderate leaning liberal
                                              |




       .


           Moderate
           Moderate lea ning       conservative
           Somewhat conservative
   NO




      Extremel y conservative
Thinking  about      students at your institution, would you say most politically to
                                                                                   are
the left of you     (moreliberal) or politically to the right of you (more conservative)?
   e       Most   are   to the   left of me
   e       Most   are   to the   right of me
   e       Most have     positions close to mine
   e       About as many         are   to the left of me as to the   right of me
   e       Don’t know




                                                                                               Defendants_007251
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Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
   e    Most   are   to the left of me
   e    Most   are   to the   right of me
   e    Most have     positions close to mine
   e    About as many are to the left of             me as      to the   right of me
   e    Don’t know

Thinking about staff at your institution, would you. sa¥ most are politically to the
left of you (more liberal) or politically to the
        Most   are   to the left of me
                                                 right F you (more conservative)?
                                                                   PO



   e    Most   are   to the   right of me
   e    Most have     positions close to mine
   e    About as many         are   to the left of   me   as
                                                               to the right of me)
   e    Don’t know


Demographic Information
In which college is your primary appointment?
                  a




       FullProfessor
   e
       Associate Professor
        Assistant Professor                 we
        Instructor/LectAnswer
                        urer/Specialized
   e

   e
                                                     Faculty (non-tenure track)
   e    Prefer Not to

Are   you tenured?
   e    Yes
   e    No
   e    Not   Applicable
   e    Prefer Not to Answer

Which of the    following describes your race? You can select as many as apply.




                                                                                       Defendants_007252
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   e    American Indian    Alaska Native
                           or
   e    Asian or Asian-American
   e    Black or African American
   e    Caucasian or White
   e    Pacific Islander
   e    Mixed
   e    Other
   e    Prefer Not to Answer
Are   you of Hispanic, Latino/a/x,   or   Spanishorigin
                                                    Mi
   e    Yes

   e    Prefer Not to Answer                 Ay
With which    sex or   gender identity do you   Twitst identify?
   e
        Female/Woman
   e
        Male/Man
   e

   e
        Transgender     Female/Woman
        Transgender Male/Man
   e    Gender
                Variant/Non-conforming
   e    Prefer Not to
                     ‘Answer

   e
        eerosewal/Stight
       Mee
       Asexual
   e
        Bisexual.
        Gay
   e    Lesbian
   e    Pansexual
   e    Queer
   e    Not Listed Above
   e    Prefer Not to Answer

What is your  primary religious affiliation, if any?
   e
        Evangelical Protestant
   e    Mainline Protestant




                                                                   Defendants_007253
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   e
       Historically Black Protestant
  e    Catholic
  e    Latter   Day Saints / Mormon
   e   Orthodox Christian
   e   Jehovah's Witness
   e   Other Christian
  e    Unitarian / Universalist
   e   Jewish
  e    Muslim
  e    Buddhist
  e    Hindu
  e    Other religion
  e    Atheist
  e
       Agnostic
       No religious affiliation /
  e

  e    PreferNotto Answer
                                 Nene
Which of the
                following describes your faculty appointment?
   e   Tenure    track/untenured faculty member
   e   Tenured     faculty member.         Lo
   e
       Specialized/Non-tenur track




                                                                Defendants_007254
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
                                                                                        Commented [THS1]: Add here the suggested consent-
Note: You must be 18 years of age or older may participate in this survey.              type language, while preserving your language above:

                                                                                        We will not record your name or any information that shows
Responses will be analyzed for the institution and only grouped responses will be       your identity. We will securely store your information. Your
                                                                                        email addresses used to contact you are not ever linked to
reported. Any data or results that might compromise a respondent’s identity will        any response, and the email address file is kept separate from
not be published.                                                                       response data. All data will be securely collected, transmitted
                                                                                        and stored using password, encryption and other
                                                                                        authentication protection.
By completing this survey, you are consenting to participate in this study.
                                                                                        If you plan to obtain the Certificate of Confidentiality, then
                                                                                        add the following: this research is covered by a Certificate of
Intellectual Freedom and Viewpoint Diversity on My Campus                               Confidentiality from the National Institutes of Health, which
                                                                                        protects against any compelled disclosure of information
In your experience, how often are students encouraged to consider a wide variety        about you in any legal or court action. Go here to learn more.
of viewpoints and perspectives in the classroom?                                        If you have any questions, please contact [list investigator’s
                                                                                        name, FSU e-mail, and telephone number]. [If the researcher
      Very Frequently                                                                  is a student, include the faculty advisor’s name, FSU e-mail
                                                                                        and phone number as well].
      Frequently
                                                                                        The FSU Institutional Review Board has approved of this
      Occasionally                                                                     study. If you have any questions about your rights as a
      Rarely                                                                           research participant, you may contact the IRB at (850) 644-
                                                                                        7900 or humansubjects@fsu.edu.
      Very Rarely


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                                                                                                                               FSU002003
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    Never
    Don’t Know
    Prefer Not to Answer
In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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                                                                                    FSU002004
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    Never
    Don’t Know
    Prefer Not to Answer


Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




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                                                                                          FSU002005
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




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                                                                                      FSU002006
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More         Somewhat          Somewhat          Much Less        Prefer Not
 Setting                  Likely          More Likely       Less Likely        Likely          to Answer
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me


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                                                                                   FSU002008
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 Prefer Not to Answer




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                                                                           FSU002009
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                        EXHIBIT F
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Note: You must be 18 years of age or older may participate in this survey.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
By completing this survey, you are consenting to participate in this study.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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                                                                                        FSU001960
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    Never
    Don’t Know
    Prefer Not to Answer
In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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                                                                                    FSU001961
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    Never
    Don’t Know
    Prefer Not to Answer


Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




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                                                                                          FSU001962
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




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                                                                                      FSU001963
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More         Somewhat          Somewhat          Much Less        Prefer Not
 Setting                  Likely          More Likely       Less Likely        Likely          to Answer
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




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                                                                                                                 FSU001964
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me


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                                                                                   FSU001965
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 Prefer Not to Answer




                                                                        7



                                                                            FSU001966
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                        EXHIBIT G
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer


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                                                                                        FSU001932
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In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer



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                                                                                    FSU001933
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




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                                                                                          FSU001934
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




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                                                                                      FSU001935
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More         Somewhat          Somewhat          Much Less        Prefer Not
 Setting                  Likely          More Likely       Less Likely        Likely          to Answer
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me


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                                                                                   FSU001937
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 Prefer Not to Answer




                                                                        7



                                                                            FSU001938
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                        EXHIBIT H
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a staff
member there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer



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                                                                                        FSU001926
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In your experience, how often are there opportunities for students to consider a
wide variety of viewpoints and perspectives outside of the campus classroom
(such as in clubs, student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer




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                                                                                       FSU001927
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Freedom of Expression on Campus
Think about a time within your workplace in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable contributing to this discussion
      I would be somewhat comfortable contributing to this discussion
      Neutral
      I would be somewhat reluctant contributing to this discussion
      I would be very reluctant contribute to this discussion
      Prefer Not to Answer
Think about a time within your workplace in which a controversial issue was being
discussed. How comfortable or reluctant would you feel about contributing to the
discussion on this topic?
      I would be very comfortable contributing to this discussion
      I would be somewhat comfortable contributing to this discussion
      Neutral
      I would be somewhat reluctant contributing to this discussion
      I would be very reluctant contribute to this discussion
      Prefer Not to Answer
As you think about contributing to a discussion on one of these controversial
issues, how concerned would you be that the following would occur?
Colleagues would criticize my views as offensive.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned


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                                                                                    FSU001928
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 Very concerned
 Extremely concerned
 Prefer Not to Answer




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                                                                            FSU001929
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                           Much More         Somewhat          Somewhat          Much Less         Prefer Not
    Setting                  Likely          More Likely       Less Likely        Likely           to Answer
    In the workplace
    with colleagues

    At a meal with
    friends

    At a family
    gathering

    On social media
    (e.g. Twitter,
    Instagram, or
     Facebook)




                                                                                                                5



                                                                                                                    FSU001930
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Information About You
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6



                                                                                   FSU001931
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                         EXHIBIT I
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Faculty Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a faculty
member there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer



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                                                                                        FSU001919
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In your experience, how often are there opportunities for students to consider a
wide variety of viewpoints and perspectives outside of the campus classroom
(such as in clubs, student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience, how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer




                                                                                   2



                                                                                       FSU001920
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Freedom of Expression on Campus
Think about teaching a class session that centered upon a discussion of a non-
controversial issue. How comfortable or reluctant would you feel about leading
the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
      Prefer Not to Answer
Think about teaching a class session that centered upon discussion of a
controversial or difficult issue in your primary area of instruction. How
comfortable or reluctant would you feel about leading the discussion on this
topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
      Prefer Not to Answer
Think about teaching a class session that centered upon a controversial or difficult
political issue. How comfortable or reluctant would you feel about leading the
discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
      Prefer Not to Answer
As you think about leading the discussion on one of these controversial issues
during a class, how concerned would you be that the following would occur?
Students would criticize my views as offensive.
    Not at all concerned

                                                                                   3



                                                                                       FSU001921
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     Slightly concerned
     Somewhat concerned
     Very concerned
     Extremely concerned
     Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                          4



                                                                              FSU001922
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                           Much More         Somewhat          Somewhat          Much Less         Prefer Not
    Setting                  Likely          More Likely       Less Likely        Likely           to Answer
    The college
    classroom

    At a meal with
    friends

    At a family
    gathering

    At a workplace
    with colleagues

    On social media
    (e.g. Twitter,
    Instagram, or
     Facebook)




                                                                                                                5



                                                                                                                    FSU001923
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Information About You
What is your present academic rank?
      Full Professor
      Associate Professor
      Assistant Professor
      Instructor/Lecturer/Specialized Faculty (non-tenure track)
      Prefer Not to Answer
Are you tenured?
      Yes
      No
      Not Applicable
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer

                                                                               6



                                                                                   FSU001924
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With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                          7



                                                                              FSU001925
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                         EXHIBIT J
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer



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                                                                                        FSU001912
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In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer




                                                                                2



                                                                                    FSU001913
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




                                                                                      3



                                                                                          FSU001914
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                                  4



                                                                                      FSU001915
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More         Somewhat          Somewhat          Much Less        Prefer Not
 Setting                  Likely          More Likely       Less Likely        Likely          to Answer
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




                                                                                                             5



                                                                                                                 FSU001916
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me


                                                                               6



                                                                                   FSU001917
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  Prefer Not to Answer




                                                                         7



                                                                             FSU001918
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                        EXHIBIT K
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wide variety of
viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know



                                                                                    1



                                                                                        FSU001905
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On my campus, how often are there opportunities to consider a wide variety of
viewpoints and perspectives outside of the classroom (such as in clubs, student
organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                                  2



                                                                                      FSU001906
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




                                                                                      3



                                                                                          FSU001907
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                                  4



                                                                                      FSU001908
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When compared to classroom, are you more likely or less likely to share your views on a controversial issue in
the following settings?
                        Much More     Somewhat        About the      Somewhat       Much Less     Prefer Not
Setting                   Likely      More Likely       Same         Less Likely     Likely       To Answer
????? – Didn’t quite
follow the feedback
received on this
new item… HELP!


At a meal with
friends


At a family
gathering

At a workplace
with colleagues

On social media
(e.g. Twitter,
Instagram, or
 Facebook)




                                                                                                                 5



                                                                                                                     FSU001909
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6



                                                                                   FSU001910
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Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      Prefer Not to Answer


BRANCHING Question depending upon response to above question:
Do you consider yourself to be:
      Extremely conservative
      Moderately conservative
      Slightly conservative
      Prefer Not to Answer


Do you consider yourself to be:
      Moderate, leaning conservative
      Moderate
      Moderate, leaning liberal
      Prefer Not to Answer


Do you consider yourself to be:
      Extremely liberal
      Moderately liberal
      Slightly liberal
      Prefer Not to Answer




                                                                          7



                                                                              FSU001911
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                         EXHIBIT L
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity and directed the state’s Board of Education to
create “an objective, nonpartisan, and statistically valid survey to be used by each
institution which considers the extent to which competing ideas and perspectives
are presented and members of the college community, including students,
faculty, and staff, feel free to express their beliefs and viewpoints on campus and
in the classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wide variety of
viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                                    1



                                                                                        FSU001891
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On my campus, how often are there opportunities to consider a wide variety of
viewpoints and perspectives outside of the classroom (such as in clubs, student
organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                                  2



                                                                                      FSU001892
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views




                                                                                      3



                                                                                          FSU001893
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Slightly concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
Other students would criticize my views.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned




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                                                                                      FSU001894
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When compared to the classroom, are you more likely or less likely to share your views on a controversial
issue in the following settings?
                            Much More       Somewhat          About the       Somewhat         Much Less
Setting                       Likely        More Likely         Same          Less Likely       Likely

At a meal with friends


At a family gathering

At a workplace
 with colleagues

On social media (e.g.
 Twitter, Instagram, or
 Facebook)




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                                                                                                                FSU001895
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Information About You
What is your primary major or program of study?
    Option 1: Self-reported
    Option 2: Get list of majors from each institution
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6



                                                                                   FSU001896
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Where would you place yourself on the following scale?
      Extremely liberal
      Somewhat liberal
      Moderate leaning liberal
      Moderate
      Moderate leaning conservative
      Somewhat conservative
      Extremely conservative
      Other
      Prefer Not to Answer




                                                                          7



                                                                              FSU001897
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                        EXHIBIT M
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never




                                                                                    1



                                                                                        FSU001898
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In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never




                                                                                2



                                                                                    FSU001899
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views




                                                                                      3



                                                                                          FSU001900
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned




                                                                                  4



                                                                                      FSU001901
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More Likely         Somewhat            Somewhat Less        Much Less Likely
 Setting                                         More Likely            Likely
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




                                                                                                             5



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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me




                                                                               6



                                                                                   FSU001903
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Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      Haven’t thought much about it [no branch]


BRANCHING Question depending upon response to above question:
Do you consider yourself to be:
    Extremely conservative
    Moderately conservative
    Slightly conservative


Do you consider yourself to be:
    Moderate, leaning conservative
    Moderate
    Moderate, leaning liberal


Do you consider yourself to be:
    Extremely liberal
    Moderately liberal
    Slightly liberal




                                                                          7



                                                                              FSU001904
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                        EXHIBIT N
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked a number of questions about these topics and
about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 5 minutes to complete.
Responses will be analyzed for the institution and findings will be reported by the
FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wide variety of
viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


                                                                                    1



                                                                                        FSU001804
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On my campus, how often are there opportunities to consider a wide variety of
viewpoints and perspectives outside of the classroom (such as in clubs, student
organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is
unwelcoming to a range of viewpoints?
      Never
      Very Rarely
      Rarely
      Occasionally
      Frequently
      Very Frequently
      Always
      Don’t Know
On my campus, how often do students create an environment that is
unwelcoming to a range of viewpoints?
      Never
      Very Rarely
      Rarely
      Occasionally
      Frequently
      Very Frequently
      Always
      Don’t Know




                                                                                  2



                                                                                      FSU001805
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
    Not at all concerned
    Slightly concerned
    Somewhat concerned


                                                                                      3



                                                                                          FSU001806
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    Very concerned
    Extremely concerned
Other students would criticize my views.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned


Information About You
What college is home to your primary major or program of study?
    Get list of colleges from each institution
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White


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                                                                                   FSU001807
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      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Extremely liberal
      Somewhat liberal
      Moderate leaning liberal
      Moderate
      Moderate leaning conservative
      Somewhat conservative
      Extremely conservative
      Other
      Prefer Not to Answer




                                                                          5



                                                                              FSU001808
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 DRAFT NEW QUESTION FOR FEEDBACK
 When compared to the classroom, are you more or less likely to share your
 views on a controversial issue in the following settings?
                        Much More Somewhat      About the   Somewhat      Much Less
  Setting                 Likely  More Likely     Same      Less Likely    Likely
 -At a meal with friends
 -At a family gathering
 -At a workplace
 with colleagues
 -On social media
 (e.g. Twitter or Facebook)




                                                                                      6



                                                                                          FSU001809
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                        EXHIBIT O
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STUDENT SURVEY <10 question max>

 1. Which description best describes your student level:
    • Degree-seeking, First-year
    • Degree-seeking, Sophomore
    • Degree-seeking, Junior
    • Degree-seeking, Senior
    • Graduate student
    • Not Seeking a Degree
    • Prefer Not to Answer

 2. Which description best describes your race:
    • American Indian or Alaska Native
    • Asian or Asian-American
    • Black or African American
    • Caucasian or White
    • Hawaiian/Pacific Islander
    • Multiple Races
    • Other
    • Prefer Not to Answer

 3. Which description best describes your gender:
    • Female/Woman
    • Male/Man
    • Non-binary identity
    • Prefer Not to Answer

 4. Which description best describes your political views:
    • Very liberal
    • Somewhat liberal
    • Moderate leaning liberal
    • Moderate
    • Moderate leaning conservative
    • Somewhat conservative
    • Very conservative
    • Prefer Not to Answer

 5. When you are off-campus, how comfortable do you generally feel about discussing
    controversial topics with others?
    • I am very comfortable sharing my views and considering other people’s views.
    • I am somewhat comfortable sharing my views and considering other people’s views.
    • Neutral
    • I am somewhat reluctant to share my views and consider other people’s views.
    • I am very reluctant to share my views and consider other people’s views.
    • Prefer Not to Answer




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6. When you are attending a class (in person or remotely), how comfortable do you generally
   feel about discussing controversial topics with others?
   • I am very comfortable sharing my views and considering other people’s views.
   • I am somewhat comfortable sharing my views and considering other people’s views.
   • Neutral
   • I am somewhat reluctant to share my views and consider other people’s views.
   • I am very reluctant to share my views and consider other people’s views.
   • Prefer Not to Answer

7. When you are on-campus and not in class, how comfortable do you generally feel about
   discussing controversial topics with others?
   • I am very comfortable sharing my views and considering other people’s views.
   • I am somewhat comfortable sharing my views and considering other people’s views.
   • Neutral
   • I am somewhat reluctant to share my views and consider other people’s views.
   • I am very reluctant to share my views and consider other people’s views.
   • Prefer Not to Answer

8. Which statement best describes your instructional experience (this semester/year?):
   • None of my classes included any political and/or social issues in the curriculum.
   • One or more of my classes included political and/or social issues in the curriculum and
     ALL instructors welcomed competing political and/or social ideas to be expressed during
     class discussion.
   • One or more of my classes included political and/or social issues in the curriculum and
     AT LEAST ONE instructor did not welcome competing political and/or social ideas to be
     expressed during class discussion.
   • Prefer Not To Answer

9. Which statements best describe your experience with instructors (excluding graduate
   assistants)? Select all that apply.
   • None of my instructors made statements that suggested a political or religious bias.
   • At least one of my instructors made statements that suggested a political bias.
   • At least one of my instructors made statements that suggested a religious bias.
   • Prefer Not To Answer

10. Which statements best describe your experience with graduate assistants? Select all that
    apply.
    • None of my graduate assistant instructors made statements that suggested a political or
      religious bias.
    • At least one of my graduate assistant instructors made statements that suggested a
      political bias.
    • At least one of my graduate assistant instructors made statements that suggested a
      religious bias.
    • Prefer Not To Answer




                                                                                                FSU001795
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                         EXHIBIT P
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked a number of questions about these topics and
about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


                                                                                    1



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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one-sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


                                                                                   2



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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a Non-Controversial
issue. How comfortable or reluctant would you feel about speaking up and giving
your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Race. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
Political issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
    I would be very comfortable giving my views


                                                                                  3



                                                                                      FSU001798
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      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Religion. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Gender. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Sexual Orientation. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
If you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following
would occur?
The instructor would criticize my views as offensive.



                                                                                  4



                                                                                      FSU001799
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      Not at all concerned
      Slightly concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
The instructor would give me a lower grade because of my views.
      Not at all concerned
      Slightly concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
Other students would criticize my views as offensive.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?


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   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know

Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know


Information About You
What college is home to your primary major or program of study?
    Get list of colleges from each institution


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At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
    Heterosexual/Straight
    Asexual
    Bisexual


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      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer




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                                                                              FSU001803
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                        EXHIBIT Q
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
faculty member there. You will be asked a number of questions about these
topics and about yourself. Your participation is voluntary. You are free not to
answer any question or to withdraw from the study at any time. This survey
should take approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


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                                                                                        FSU001776
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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one-sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on Campus
Think about teaching a class session that centered upon a discussion of a Non-
Controversial issue. How comfortable or reluctant would you feel about leading
the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Race. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
    I would be very comfortable leading this discussion


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      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Religion. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Gender. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Sexual Orientation. How comfortable or reluctant would
you feel about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
As you think about leading the discussion on one of these controversial issues
during a class, how concerned would you be that the following would occur?
Students would criticize my views as offensive.
    Not at all concerned
    Slightly concerned

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                                                                                     FSU001779
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    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know




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Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know


Demographic Information
In which college is your primary appointment?
    Get list of colleges from each institution
What is your present academic rank?
      Full Professor
      Associate Professor
      Assistant Professor
      Instructor/Lecturer/Specialized Faculty (non-tenure track)
      Prefer Not to Answer
Are you tenured?
      Yes
      No
      Not Applicable
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.



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      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
    Evangelical Protestant
    Mainline Protestant


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      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
Which of the following describes your faculty appointment?
    Tenure track, untenured faculty member
    Tenured faculty member
    Specialized/Non-tenure track




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                        EXHIBIT R
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
staff member there. You will be asked a number of questions about these topics
and about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one-sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


                                                                                   2



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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on Campus
Think about a time within your home unit in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
    I would be very comfortable leading this discussion


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      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican

                                                                                4



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    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know

Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know



                                                                                      5



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Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?


                                                                               6



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    Evangelical Protestant
    Mainline Protestant
    Historically Black Protestant
    Catholic
    Latter Day Saints / Mormon
    Orthodox Christian
    Jehovah’s Witness
    Other Christian
    Unitarian / Universalist
    Jewish
    Muslim
    Buddhist
    Hindu
    Other religion
    Atheist
    Agnostic
    No religious affiliation / None
    Prefer Not to Answer




                                                                         7



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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
staff member there. You will be asked a number of questions about these topics
and about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one‐sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on Campus
Think about a time within your home unit in which a non‐controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
    I would be very comfortable leading this discussion


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      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican

                                                                                4



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    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know

Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know



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Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian‐American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non‐conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?


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    Evangelical Protestant
    Mainline Protestant
    Historically Black Protestant
    Catholic
    Latter Day Saints / Mormon
    Orthodox Christian
    Jehovah’s Witness
    Other Christian
    Unitarian / Universalist
    Jewish
    Muslim
    Buddhist
    Hindu
    Other religion
    Atheist
    Agnostic
    No religious affiliation / None
    Prefer Not to Answer




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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
faculty member there. You will be asked a number of questions about these
topics and about yourself. Your participation is voluntary. You are free not to
answer any question or to withdraw from the study at any time. This survey
should take approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one‐sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on Campus
Think about teaching a class session that centered upon a discussion of a Non‐
Controversial issue. How comfortable or reluctant would you feel about leading
the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Race. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
    I would be very comfortable leading this discussion


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      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Religion. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Gender. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Sexual Orientation. How comfortable or reluctant would
you feel about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
As you think about leading the discussion on one of these controversial issues
during a class, how concerned would you be that the following would occur?
Students would criticize my views as offensive.
    Not at all concerned
    Slightly concerned

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    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know




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Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know


Demographic Information
In which college is your primary appointment?
    Get list of colleges from each institution
What is your present academic rank?
      Full Professor
      Associate Professor
      Assistant Professor
      Instructor/Lecturer/Specialized Faculty (non‐tenure track)
      Prefer Not to Answer
Are you tenured?
      Yes
      No
      Not Applicable
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.



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      American Indian or Alaska Native
      Asian or Asian‐American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non‐conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
    Evangelical Protestant
    Mainline Protestant


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      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
Which of the following describes your faculty appointment?
    Tenure track, untenured faculty member
    Tenured faculty member
    Specialized/Non‐tenure track




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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked a number of questions about these topics and
about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one‐sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a Non‐Controversial
issue. How comfortable or reluctant would you feel about speaking up and giving
your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Race. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
Political issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
    I would be very comfortable giving my views


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      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Religion. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Gender. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about Sexual Orientation. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
If you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following
would occur?
The instructor would criticize my views as offensive.



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      Not at all concerned
      Slightly concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
The instructor would give me a lower grade because of my views.
      Not at all concerned
      Slightly concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
Other students would criticize my views as offensive.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned
   Very concerned
   Extremely concerned


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?


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   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know

Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know


Information About You
What college is home to your primary major or program of study?
    Get list of colleges from each institution


                                                                                      6



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At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian‐American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non‐conforming
      Prefer Not to Answer
What is your sexual orientation?
    Heterosexual/Straight
    Asexual
    Bisexual


                                                                               7



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      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer




                                                                          8



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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked a number of questions about these topics and
about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.                                                                       Commented [LA1]: This suggests that individual data will
                                                                                        not be released.



Intellectual Freedom and Viewpoint Diversity on My Campus
                                                                                        Commented [LA2]: Do undergrads have panel
                                                                                        discussions, what’s a panel discussion. –where are these
On my campus, panel discussions and presentations on social and political issues        presentations and discussions not sure what undergrads will
typically seem one-sided.                                                               be thinking of here
                                                                                        Commented [LA3]: What does neutral mean. Lickert
      Strongly Agree                                                                   scales are icky. How about something like
      Somewhat Agree                                                                   All of the time
      Neutral                                                                          Most of the time
                                                                                        About ½ the time
      Somewhat Disagree                                                                Only some of the time
      Strongly Disagree                                                                Never
                                                                                        Don’t Know
      Don’t Know




                                                                                                                             FSU001740
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On my campus, some or there are courses have readings which present only one      Commented [LA4]: There are suggests 1, do we want a
                                                                                  low of 1? Some is more than 1, but not many…..also could
side of a socially or politically controversial issue.                            do a how many question here.

      Strongly Agree                                                             Commented [LA5]: Ditto….maybe we just get rid of the
                                                                                  lickert scale
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, courses present social and political issues in an unfair and one-   Commented [LA6]: Do we mean instructors and
                                                                                  teachers?
sided manner.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus,[there are] or some professors [who] are intolerant of certain       Commented [LA7]: Same as above there are suggests 1,
                                                                                  some is more than 1
political and social viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are courses in which the professor creates an environment
that is hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                                                      FSU001741
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On your campus, how often are students encouraged to consider a wider variety of viewpoints and
perspectives?
____Very frequently
____Frequently
____Occasionally
____Rarely
____Very rarely
____Never
15

Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a NON-
CONTROVERSIAL issue. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about RACE. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
POLITICAL issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views




                                                                                                  FSU001742
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Think about being at your school in a class that was discussing a controversial
issue about RELIGION. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about GENDER. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about SEXUAL ORIENTATION. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1. Extremely liberal




                                                                                     FSU001743
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     2.   Somewhat liberal
     3.   Moderate leaning liberal
     4.   Moderate
     5.   Moderate leaning conservative
     6.   Somewhat conservative
     7.   Extremely conservative


Do we want any of the consequences –I also find what the report does that
students are very worried about each other?
7.

I believe that through hard work, everybody can succeed in American society.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA8]: Not sure about keeping


I believe that racial discrimination is no longer a major problem in America.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA9]: Consider cutting


I believe that undocumented immigrants should be denied access to public
education.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA10]: Consider cutting




                                                                                                               FSU001744
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I believe that that universities have the right to ban extreme speakers from
campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that dissent is a critical component of the political process.       Commented [LA11]: Dissent….debate?


      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that colleges should prohibit racist/sexist speech on campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know                                                              Commented [LA12]: Cut?


Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
Are you of Hispanic, Latino/a/x, or Spanish origin?




                                                                                                             FSU001745
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    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist




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        Hindu
        Other religion
        Atheist
        Agnostic
        No religious affiliation / None
        Prefer Not to Answer


Class rank
Freshman
Sophomore
Junior
Senior
Graduate


Major (pull down) –Heterodox has the following:


Business Health Profession Social Science Engineering Biological Science Arts Education
Humanities Physical Science Mathematics/ Statistics Religion/ Theology Something else Prefer
not to say Total




Should we consider these:


Thinking about STUDENTS at your college/university, would you say most are politically to the left of you
(more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me
____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know
Thinking about FACULTY at your college/university, would you say most are politically to the left of you
(more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me




                                                                                                            FSU001747
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____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know
Thinking about ADMINISTRATORS at your college/university, would you say most are politically to the left of
you (more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me
____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know




Appendix C: Viewpoint Diversity Module. –Considers implications
14

Not sure about these.

Consequence Items If you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following would occur :


The professor would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
The professor would give me a lower grade because of my views.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned _
___Extremely concerned



The professor would say my views are wrong.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned




                                                                                                              FSU001748
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____Extremely concerned

Other students would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Someone would post critical comments about my views on social media.
____Not at all concerned
____Slightly concerned
____Somewhat concerned _
___Very concerned
____Extremely concerned

Someone would file a complaint claiming that my views violated a campus harassment policy or   Commented [LA13]: Not sure this applies here or not.
code of conduct.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
 ___Extremely concerned

Think about being at your school in a class that was discussing a NON-CONTROVERSIAL
issue.
How comfortable or reluctant would you feel about speaking up and giving your views on this
topic?
____I would be very comfortable giving my views. _
  ___I would be somewhat comfortable giving my views.
____I would be somewhat reluctant giving my views.
____I would be very reluctant giving my views. I
f you were to speak up and give your views about a NON-CONTROVERSIAL issue during a
class discussion, how concerned would you be that the following would occur:
The professor would criticize my views as offensive.
____Not at all concerned _
___Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
The professor would give me a lower grade because of my views.
____Not at all concerned
____Slightly concerned _
___Somewhat concerned
____Very concerned
____Extremely concerned
The professor would say my views are wrong.




                                                                                                                                 FSU001749
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____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Other students would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Someone would post critical comments about my views on social media.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned





                                                                               FSU001750
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                           Florida Board of Governors                                   Commented [DR1]: Hi Tim, Let me reiterate the concerns
                                                                                        that I have already articulated about this survey. As decades
        Intellectual Freedom and Viewpoint Diversity Assessment Project                 of survey research have shown, good surveys have the
                                                                                        potential to illuminate critical issues regarding a workplace
                                 Student Survey                                         or community. The COACHE survey is a great example in this
                                                                                        regard. A bad survey can create confusion, problems and
Opening Message for Survey                                                              sow discord. While I do not know what the implications of
                                                                                        this survey will be, I do know that this is not a good survey.
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual            The dependent variable (intellectual freedom and viewpoint
                                                                                        diversity) is not defined at all and several relevant
Freedom and Viewpoint Diversity within the State of Florida’s State University          independent variables are missing.

System. The Florida Board of Governors (FLBOG) was asked to create “an                  The problems that I outlined previously:
objective, nonpartisan, and statistically valid survey to be used by each institution   The Terminology used is overly political and will likely prime
which considers the extent to which competing ideas and perspectives are                political responses. Terms such as “intolerant” and “hostile”
                                                                                        should not be included in a survey that is intended to
presented and members of the college community, including students, faculty,            explore what the SUS does well and where it needs to
                                                                                        improve. It is particularly concerning that these loaded
and staff, feel free to express their beliefs and viewpoints on campus and in the       terms were not defined for respondents.
classroom.”
                                                                                        The survey lacks specificity in ways that are confusing and
                                                                                        make the survey read as a political tool rather than a
The goal of this anonymous survey is to obtain opinions on intellectual freedom         legitimate effort to improve the SUS system. For example,
and viewpoint diversity at [university name], drawing on your experiences as a          I’m not sure why we would ask faculty if readings only
                                                                                        present one side of a controversial issue when disciplines
student there. You will be asked a number of questions about these topics and           use disciplinary lenses to understand the causes,
                                                                                        Commented [DR2]: The phrase “intellectual freedom
                                                                                        consequences and solutions to political problems. Is the
about yourself. Your participation is voluntary. You are free not to answer any         and viewpoint diversity” require definition. I recommend
                                                                                        question about other disciplines? Social sciences and
                                                                                        dropping the phrase entirely since it is political and can only
question or to withdraw from the study at any time. This survey should take             humanities only? Is there any interest in learning about
                                                                                        be defined in political ways. Specifically, this phraseology
                                                                                        “hard” sciences such as Biology and their respective
approximately 10 minutes to complete.                                                   suggests that faculty and students should evaluate a
                                                                                        diversity?
                                                                                        college/university according to the “air time” progressive
                                                                                        and conservative talking points get on campus. It assumes
Responses will be analyzed for the entire institution and findings will be reported     that the equal exposure to the ideas associated with the
                                                                                        two dominant political parties is the sine qua non of
by the FLBOG to the State Legislature as required. Only grouped responses will be       educational quality.
reported; any data or results that might compromise a respondent’s identity will
                                                                                        The use of the phrase “intellectual diversity” is better since
not be published.                                                                       it can be defined and contextualized. We know, for example,
                                                                                        that intellectual diversity is not about evaluating the
                                                                                        theoretical debates and developments associated with a
                                                                                        particular discipline. Intellectual diversity exists when
                                                                                        campuses provide a place where faculty and students ask
Intellectual Freedom and Viewpoint Diversity on My Campus                               questions and have the ability to approach a problem,
                                                                                        whatever its nature, from a variety of perspectives. Debra
On my campus, panel discussions and presentations on social and political issues        Mashek of the Heterodox Academy says, and I agree, that
                                                                                        Commented [DR3]: This is a political question, not a
                                                                                        “Intellectual diversity exists when learners ask questions
typically seem one-sided.                                                               survey question. What kind of panel discussion and
                                                                                        and approach problems from a range of perspectives. When
                                                                                        presentations? Those sponsored by RSO’s? What is the
                                                                                        a community is marked by intellectual humility, empathy,
                                                                                        temporal context here? It seems like we would have
      Strongly Agree                                                                   trust, and curiosity, viewpoint diversity gives rise to engaged
                                                                                        respondents tell us the extent to which they pay attention
                                                                                        and respectful debate, constructive disagreement, and
      Somewhat Agree                                                                   to what’s happening on campus, where they get information
                                                                                        shared progress towards understanding.”
                                                                                        regarding panels/presentations from and provide a clear
      Neutral                                                                          sense of what kinds of panels/discussions are the reference
      Somewhat Disagree                                                                point. What is meant by “one-sided?” If they survey is asking
                                                                                        respondents to think about presentations inside a
      Strongly Disagree                                                                department or center, how care respondents supposed to
                                                                                        evaluate this?
      Don’t Know




                                                                                                                               FSU001733
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On my campus, courses have readings which present only one side of a
controversial issue.                                                                  Commented [DR4]: Again, this is a political question. An
                                                                                      appropriate survey question would ask about the mix of
                                                                                      readings (academic to non-academic) read in class, and,
      Strongly Agree                                                                 MORE IMPORTANTLY, are learners given guidance
      Somewhat Agree                                                                 disciplinary frameworks – meaning they are told how
                                                                                      someone from “X” discipline would read the material or
      Neutral                                                                        what they would focus on to understand, in this case, a
      Somewhat Disagree                                                              controversial issue.

      Strongly Disagree
      Don’t Know
On my campus, courses present social and political issues in an unfair and one-
sided manner.                                                                         Commented [DR5]: Same comment. What is meant by
                                                                                      unfair and one-sided when it comes to course material? A
                                                                                      legitimate survey would probe to assess whether students
      Strongly Agree                                                                 are learning disciplinary appropriate perspectives and the
      Somewhat Agree                                                                 makeup of their coursework, which is also key to fostering
                                                                                      intellectual diversity and students ready to succeed in the
      Neutral                                                                        workforce.
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, professors are intolerant of certain political and social viewpoints.   Commented [DR6]: What is meant by intolerant? As
                                                                                      noted above, one assumption undergirding this survey is
                                                                                      that higher education is about political parties and their
      Strongly Agree                                                                 viewpoints. Certainly, there are students who get politically
      Somewhat Agree                                                                 involved, something that isn’t asked about on the survey,
                                                                                      but this not a useful question. Useful questions, in this case,
      Neutral                                                                        would ask about respective disagreement in the classroom
      Somewhat Disagree                                                              and the extent to which they are happening – not to
                                                                                      mention ask students about their own participation in
      Strongly Disagree                                                              practices that foster intellectual diversity.

      Don’t Know
On my campus, there are courses in which the professor creates an environment
that is hostile to certain political or social views.                                 Commented [DR7]: This is a confusing question. What is
                                                                                      meant by “hostile/” Is something hostile because a student
                                                                                      finds it personally or intellectually challenging? If their
      Strongly Agree                                                                 politics doesn’t neatly map onto the course material? If so,
      Somewhat Agree                                                                 that seems extraordinarily problematic since secondary
                                                                                      education is supposed to be challenging and our students
      Neutral                                                                        need to be challenged so that they can be competitive in the
      Somewhat Disagree                                                              rapidly changing global economy.

      Strongly Disagree
      Don’t Know




                                                                                                                             FSU001734
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Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a NON-
CONTROVERSIAL issue. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?                                  Commented [DR8]: This entire section baffles me since it
                                                                                  is unclear what “freedom of expression” on campus has to
                                                                                  do with a random class that a respondent is being asked to
      I would be very comfortable giving my views                                think about. Classrooms and campus are not the same
      I would be somewhat comfortable giving my views                            spaces. Classrooms are places where students learn more
                                                                                  about a topic from a specific disciplinary perspective.
      Neutral                                                                    Campus provides the environment where students get
      I would be somewhat reluctant giving my views                              involved in groups and clubs, explore internship and
                                                                                  research opportunities, and attend talks and panels
      I would be very reluctant giving my views                                  sponsored by RSOs as well as other entities on campus. If
                                                                                  the goal of the survey is to grind a political axe, it will likely
Think about being at your school in a class that was discussing a controversial   be a success on this front. If the survey is a legitimate
                                                                                  assessment of the SUS, it should make these distinctions
issue about RACE. How comfortable or reluctant would you feel about speaking      and ask questions about campus life and, in this case,
up and giving your views on this topic?                                           student involvement in it.


      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
POLITICAL issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about RELIGION. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views




                                                                                                                           FSU001735
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Think about being at your school in a class that was discussing a controversial
issue about GENDER. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
       I would be very comfortable giving my views
       I would be somewhat comfortable giving my views
       Neutral
       I would be somewhat reluctant giving my views
       I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about SEXUAL ORIENTATION. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
       I would be very comfortable giving my views
       I would be somewhat comfortable giving my views
       Neutral
       I would be somewhat reluctant giving my views
       I would be very reluctant giving my views
Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
I believe that through hard work, everybody can succeed in American society.         Commented [DR9]: What purpose do these questions
                                                                                     serve beyond probing the relative conservativeness or
                                                                                     progressiveness of a student? Does it contribute the
    Strongly Agree                                                                  exploration of the dependent variable?




                                                                                                                        FSU001736
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      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that racial discrimination is no longer a major problem in America.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that undocumented immigrants should be denied access to public
education.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that that universities have the right to ban extreme speakers from
campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that dissent is a critical component of the political process.
    Strongly Agree
    Somewhat Agree
    Neutral




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    Somewhat Disagree
    Strongly Disagree
    Don’t Know
I believe that colleges should prohibit racist/sexist speech on campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Demographic Information                                                        Commented [DR10]: So much relevant information
                                                                               missing such as year in school, number of courses taken,
                                                                               major, level of involvement on campus (e.g., number of
Which of the following describes your race? You can select as many as apply.   RSOs to which they belong) and so on.

      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?




                                                                                                                    FSU001738
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      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer




                                                                                FSU001739
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                        EXHIBIT X
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 which is intended to
promote Intellectual Freedom and Viewpoint Diversity within the State of
Florida’s State University System. The Florida Board of Governors (FLBOG) was
asked to create “an objective, nonpartisan, and statistically valid survey to be
used by each institution which considers the extent to which competing ideas and
perspectives are presented and members of the college community, including
students, faculty, and staff, feel free to express their beliefs and viewpoints on
campus and in the classroom.”
The goal of this survey is to obtain opinions on intellectual freedom and viewpoint
diversity at [your university], drawing on your experiences as a student there. You
will be asked a number of questions about these topics and about yourself. Your
participation is voluntary. You are free to not answer any question or to withdraw
from the study at any time. This survey should take approximately 10 minutes to
complete. Survey data will be stored at a secured location and retained
indefinitely.
Responses will be analyzed and categorical and statistical trends will be reported
by the FLBOG to the State Legislature as required by Florida Statute. Only grouped
responses will be reported; any data or results that might compromise a
respondent’s identity will not be shared.


Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree




                                                                                      FSU001725
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    Strongly Disagree
    Don’t Know
On my campus, many courses have readings which present only one side of a
controversial issue.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many courses present social and political issues in an unfair and
one-sided manner.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many professors are intolerant of certain political and social
viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are courses in which the professor creates an environment
that is hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree




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  Don’t Know




                                                                         FSU001727
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Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Through hard work, everybody can succeed in American society
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Racial discrimination is no longer a major problem in America
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Undocumented immigrants should be denied access to public education
    Strongly Agree
    Somewhat Agree
    Neutral




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    Somewhat Disagree
    Strongly Disagree
    Don’t Know
Colleges have the right to ban extreme speakers from campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Dissent is a critical component of the political process
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Colleges should prohibit racist/sexist speech on campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know


Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a NON-
CONTROVERSIAL issue. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
    I would be very comfortable giving my views
    I would be somewhat comfortable giving my views
    Neutral




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    I would be somewhat reluctant giving my views
    I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about RACE. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
POLITICAL issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about RELIGION. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about GENDER. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views




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    I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about SEXUAL ORIENTATION. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views


Demographic Information
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer




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What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer




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                        EXHIBIT Y
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 which is intended to
promote Intellectual Freedom and Viewpoint Diversity within the State of
Florida’s State University System. The Florida Board of Governors (FLBOG) was
asked to create “an objective, nonpartisan, and statistically valid survey to be
used by each institution which considers the extent to which competing ideas and
perspectives are presented and members of the college community, including
students, faculty, and staff, feel free to express their beliefs and viewpoints on
campus and in the classroom.”
The goal of this survey is to obtain opinions on intellectual freedom and viewpoint
diversity at [your university], drawing on your experiences as a student there. You
will be asked a number of questions about these topics and about yourself. Your
participation is voluntary. You are free to not answer any question or to withdraw
from the study at any time. This survey should take approximately 10 minutes to
complete. Survey data will be stored at a secured location and retained
indefinitely.
Responses will be analyzed and categorical and statistical trends will be reported
by the FLBOG to the State Legislature as required by Florida Statute. Only grouped
responses will be reported; any data or results that might compromise a
respondent’s identity will not be shared.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




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On my campus, many academic programs are intolerant of certain political and
social viewpoints.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
On my campus, there are academic programs that create an environment that is
hostile to certain political or social views.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Through hard work, everybody can succeed in American society




                                                                                     FSU001719
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      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Racial discrimination is no longer a major problem in America
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Undocumented immigrants should be denied access to public education
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Colleges have the right to ban extreme speakers from campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Dissent is a critical component of the political process
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree




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    Strongly Disagree
    Don’t Know
Colleges should prohibit racist/sexist speech on campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know


Freedom of Expression on Campus
Think about a time within your home unit in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?




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      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Demographic Information
With which sex or gender identity do you most identify?




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      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu




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      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer




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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 which is intended to
promote Intellectual Freedom and Viewpoint Diversity within the State of
Florida’s State University System. The Florida Board of Governors (FLBOG) was
asked to create “an objective, nonpartisan, and statistically valid survey to be
used by each institution which considers the extent to which competing ideas and
perspectives are presented and members of the college community, including
students, faculty, and staff, feel free to express their beliefs and viewpoints on
campus and in the classroom.”
The goal of this survey is to obtain opinions on intellectual freedom and viewpoint
diversity at [your university], drawing on your experiences as a student there. You
will be asked a number of questions about these topics and about yourself. Your
participation is voluntary. You are free to not answer any question or to withdraw
from the study at any time. This survey should take approximately 10 minutes to
complete. Survey data will be stored at a secured location and retained
indefinitely.
Responses will be analyzed and categorical and statistical trends will be reported
by the FLBOG to the State Legislature as required by Florida Statute. Only grouped
responses will be reported; any data or results that might compromise a
respondent’s identity will not be shared.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                      FSU001711
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On my campus, many courses have readings which present only one side of a
controversial issue.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many courses present social and political issues in an unfair and
one-sided manner.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many professors are intolerant of certain political and social
viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are many courses in which the professor creates an
environment that is hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                  FSU001712
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Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Through hard work, everybody can succeed in American society
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Racial discrimination is no longer a major problem in America
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Undocumented immigrants should be denied access to public education
    Strongly Agree
    Somewhat Agree
    Neutral




                                                                                     FSU001713
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    Somewhat Disagree
    Strongly Disagree
    Don’t Know
Colleges have the right to ban extreme speakers from campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Dissent is a critical component of the political process
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Colleges should prohibit racist/sexist speech on campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know


Freedom of Expression on Campus
Think about teaching a class session that centered upon a discussion of a non-
controversial issue. How comfortable or reluctant would you feel about leading
the discussion on this topic?
    I would be very comfortable leading this discussion
    I would be somewhat comfortable leading this discussion
    Neutral




                                                                                 FSU001714
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    I would be somewhat reluctant leading this discussion
    I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Race. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Religion. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Gender. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion




                                                                                   FSU001715
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    I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Sexual Orientation. How comfortable or reluctant would
you feel about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Demographic Information
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer




                                                                                FSU001716
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What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer




                                                                          FSU001717
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
                                                                                        Commented [THS1]: Add here the suggested consent-
Note: You must be 18 years of age or older may participate in this survey.              type language, while preserving your language above:

                                                                                        We will not record your name or any information that shows
Responses will be analyzed for the institution and only grouped responses will be       your identity. We will securely store your information. Your
                                                                                        email addresses used to contact you are not ever linked to
reported. Any data or results that might compromise a respondent’s identity will        any response, and the email address file is kept separate from
not be published.                                                                       response data. All data will be securely collected, transmitted
                                                                                        and stored using password, encryption and other
                                                                                        authentication protection.
By completing this survey, you are consenting to participate in this study.
                                                                                        If you plan to obtain the Certificate of Confidentiality, then
                                                                                        add the following: this research is covered by a Certificate of
Intellectual Freedom and Viewpoint Diversity on My Campus                               Confidentiality from the National Institutes of Health, which
                                                                                        protects against any compelled disclosure of information
In your experience, how often are students encouraged to consider a wide variety        about you in any legal or court action. Go here to learn more.
of viewpoints and perspectives in the classroom?                                        If you have any questions, please contact [list investigator’s
                                                                                        name, FSU e-mail, and telephone number]. [If the researcher
      Very Frequently                                                                  is a student, include the faculty advisor’s name, FSU e-mail
                                                                                        and phone number as well].
      Frequently
                                                                                        The FSU Institutional Review Board has approved of this
      Occasionally                                                                     study. If you have any questions about your rights as a
      Rarely                                                                           research participant, you may contact the IRB at (850) 644-
                                                                                        7900 or humansubjects@fsu.edu.
      Very Rarely


                                                                                    1




                                                                                                                               FSU000937
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    Never
    Don’t Know
    Prefer Not to Answer
In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


                                                                                2




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    Never
    Don’t Know
    Prefer Not to Answer


Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




                                                                                      3




                                                                                          FSU000939
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                                  4




                                                                                      FSU000940
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More         Somewhat          Somewhat          Much Less        Prefer Not
 Setting                  Likely          More Likely       Less Likely        Likely          to Answer
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




                                                                                                             5




                                                                                                                 FSU000941
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me


                                                                               6




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 Prefer Not to Answer




                                                    7




                                                                           FSU000943
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never




                                                                                    1



                                                                                        FSU001475
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In your experience, how often are there opportunities to consider a wide variety
of viewpoints and perspectives outside of the campus classroom (such as in clubs,
student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never




                                                                                2



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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views




                                                                                      3



                                                                                          FSU001477
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned




                                                                                  4



                                                                                      FSU001478
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More Likely         Somewhat            Somewhat Less        Much Less Likely
 Setting                                         More Likely            Likely
 The college
 classroom

 At a meal with
 friends

 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)




                                                                                                             5



                                                                                                                 FSU001479
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
With which sex or gender identity do you most identify?
    Female
    Male
    Neither best describes me




                                                                               6



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Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      Haven’t thought much about it [no branch]


BRANCHING Question depending upon response to above question:
Do you consider yourself to be:
    Extremely conservative
    Moderately conservative
    Slightly conservative


Do you consider yourself to be:
    Moderate, leaning conservative
    Moderate
    Moderate, leaning liberal


Do you consider yourself to be:
    Extremely liberal
    Moderately liberal
    Slightly liberal




                                                                          7



                                                                              FSU001481
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
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presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
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viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wide variety of
viewpoints and perspectives in the classroom?                                           Commented [LA1]: I’m going to suggest a wording
                                                                                        change here….but I know we’ve worked on these and so I
                                                                                        understand if it’s not a good time for changes.
      Very Frequently
      Frequently                                                                       In your classroom experience, how often are students
                                                                                        encouraged to consider a wide variety of viewpoints and
      Occasionally                                                                     perspectives?
      Rarely
      Very Rarely
      Never
      Don’t Know                                                                       Commented [LA2]: I would not put DK in most questions,
                                                                                        we say in the instructions that they are free not to answer
                                                                                        any questions….encourage response though by excluding dk



                                                                                    1




                                                                                                                            FSU001375
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In your experience, hoOn my campus, how often are there opportunities to
consider a wide variety of viewpoints and perspectives outside of the campus
classroom (such as in clubs, student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
In your experienceOn my campus, how often do instructors create an
environment that is supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campusIin your experience, how often do students create an environment
that is supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                               2




                                                                                   FSU001376
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer                                                               Commented [LA3]: Again, I would just let them na as
                                                                                          opposed to observe the option, I didn’t think anyone
                                                                                          advocated for this, I must have been mistaken.
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




                                                                                      3




                                                                                                                             FSU001377
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                                  4




                                                                                      FSU001378
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                        Much More       Somewhat        About the      Somewhat        Much Less      Prefer Not
 Setting                  Likely        More Likely       Same         Less Likely      Likely        To Answer        Commented [LA4]: I didn’t recall this change.

 The College
 Classroom

 At a meal with
 friends


 At a family
 gathering

 At a workplace
 with colleagues

 On social media
 (e.g. Twitter,
 Instagram, or
  Facebook)                                                                                                            Commented [LA5]: We can rotate these five items so the
                                                                                                                       item placement is random across respondents.




                                                                                                                   5




                                                                                                                                                           FSU001379
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer                                                        Commented [LA6]: I didn’t know that we decided to put
                                                                                   in DK everywhere. The only place I’d put dk would be in
                                                                                   ideology because a lot of people don’t know or as they say,
Which of the following describes your race? You can select as many as apply.       “haven’t thought much about it.”

      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6




                                                                                                                        FSU001380
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Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      Prefer Not to Answehaven’t thought much about it [no branch]r


BRANCHING Question depending upon response to above question:
Do you consider yourself to be:
      Extremely conservative
      Moderately conservative
      Slightly conservative
      Prefer Not to Answer


Do you consider yourself to be:
      Moderate, leaning conservative
      Moderate
      Moderate, leaning liberal
      Prefer Not to Answer


Do you consider yourself to be:
      Extremely liberal
      Moderately liberal
      Slightly liberal
      Prefer Not to Answer




                                                                       7




                                                                                FSU001381
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, how often are students encouraged to consider a wide variety of
viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know



                                                                                    1



                                                                                        FSU001136
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On my campus, how often are there opportunities to consider a wide variety of
viewpoints and perspectives outside of the classroom (such as in clubs, student
organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is supportive
of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know




                                                                                  2



                                                                                      FSU001137
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Freedom of Expression on My Campus
Think about being in a class that was discussing a Non-Controversial issue. How
comfortable would you feel about speaking up and giving your views on this
topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult issue in
your primary area of study. How comfortable would you feel about speaking up
and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer
Think about being in a class that was discussing a controversial or difficult political
issue. How comfortable would you feel about speaking up and giving your views
on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
      Prefer Not to Answer




                                                                                      3



                                                                                          FSU001138
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If you were to speak up and give your views on one of these controversial or
difficult issues during a class discussion, how concerned would you be that the
following would occur?
The instructor would criticize my views.
      Not at all concerned
      Somewhat concerned
      Very concerned
      Extremely concerned
      Prefer Not to Answer
Other students would criticize my views.
    Not at all concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Somewhat concerned
   Very concerned
   Extremely concerned
   Prefer Not to Answer




                                                                                  4



                                                                                      FSU001139
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When compared to classroom, are you more likely or less likely to share your views on a controversial issue in
the following settings?
                        Much More     Somewhat        About the      Somewhat       Much Less     Prefer Not
Setting                   Likely      More Likely       Same         Less Likely     Likely       To Answer
????? – Didn’t quite
follow the feedback
received on this
new item… HELP!


At a meal with
friends


At a family
gathering

At a workplace
with colleagues

On social media
(e.g. Twitter,
Instagram, or
 Facebook)




                                                                                                                 5



                                                                                                                     FSU001140
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Information About You
At what level are you in your studies?
      Freshman
      Sophomore
      Junior
      Senior
      Graduate Student
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6



                                                                                   FSU001141
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Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      Prefer Not to Answer


BRANCHING Question depending upon response to above question:
Do you consider yourself to be:
      Extremely conservative
      Moderately conservative
      Slightly conservative
      Prefer Not to Answer


Do you consider yourself to be:
      Moderate, leaning conservative
      Moderate
      Moderate, leaning liberal
      Prefer Not to Answer


Do you consider yourself to be:
      Extremely liberal
      Moderately liberal
      Slightly liberal
      Prefer Not to Answer




                                                                          7



                                                                              FSU001142
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
staff member there. You will be asked a number of questions about these topics
and about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, how often are students encouraged to consider a wider variety of
viewpoints and perspectives on social and political issues?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know


                                                                                    1



                                                                                        FSU000977
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On my campus, how often do university events and presentations on social and
political issues present only one side of the issue?
      All of the Time
      Most of the Time
      About Half the Time
      Only Some of the Time
      Never
      Don’t Know
On my campus, how often do instructors present social and political issues in an
unfair and one‐sided manner?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do instructors create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
On my campus, how often do students create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely


                                                                                   2



                                                                                       FSU000978
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    Never
    Don’t Know
On my campus, how often do staff create an environment that is hostile to
certain social or political views?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Don’t Know
Freedom of Expression on Campus
Think about a time within your home unit in which a non‐controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
    I would be very comfortable leading this discussion


                                                                                  3



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      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican

                                                                                4



                                                                                    FSU000980
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    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Thinking about students at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
       Most are to the left of me
       Most are to the right of me
       Most have positions close to mine
       About as many are to the left of me as to the right of me
       Don’t know

Thinking about faculty at your institution, would you say most are politically to
the left of you (more liberal) or politically to the right of you (more conservative)?
    Most are to the left of me
    Most are to the right of me
    Most have positions close to mine
    About as many are to the left of me as to the right of me
    Don’t know

Thinking about staff at your institution, would you say most are politically to the
left of you (more liberal) or politically to the right of you (more conservative)?
     Most are to the left of me
     Most are to the right of me
     Most have positions close to mine
     About as many are to the left of me as to the right of me
     Don’t know



                                                                                      5



                                                                                          FSU000981
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Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian‐American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non‐conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?


                                                                               6



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    Evangelical Protestant
    Mainline Protestant
    Historically Black Protestant
    Catholic
    Latter Day Saints / Mormon
    Orthodox Christian
    Jehovah’s Witness
    Other Christian
    Unitarian / Universalist
    Jewish
    Muslim
    Buddhist
    Hindu
    Other religion
    Atheist
    Agnostic
    No religious affiliation / None
    Prefer Not to Answer




                                                                         7



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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Student Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
student there. You will be asked a number of questions about these topics and
about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.                                                                       Commented [LA1]: This suggests that individual
                                                                                        data will not be released.


                                                                                        Commented [LA2]: Do undergrads have panel
Intellectual Freedom and Viewpoint Diversity on My Campus                               discussions, what’s a panel discussion. –where are
                                                                                        these presentations and discussions not sure what
On my campus, panel discussions and presentations on social and political issues        undergrads will be thinking of here
typically seem one-sided.                                                               Commented [LA3]: What does neutral mean.
                                                                                        Lickert scales are icky. How about something like
      Strongly Agree
      Somewhat Agree                                                                   All of the time
                                                                                        Most of the time
      Neutral                                                                          About ½ the time
      Somewhat Disagree                                                                Only some of the time
                                                                                        Never
      Strongly Disagree                                                                Don’t Know
      Don’t Know




                                                                                                                         FSU000924
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On my campus, some or there are courses have readings which present only one      Commented [LA4]: There are suggests 1, do we
                                                                                  want a low of 1? Some is more than 1, but not
side of a socially or politically controversial issue.                            many…..also could do a how many question here.
      Strongly Agree                                                             Commented [LA5]: Ditto….maybe we just get rid of
                                                                                  the lickert scale
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, courses present social and political issues in an unfair and one-   Commented [LA6]: Do we mean instructors and
                                                                                  teachers?
sided manner.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus,[there are] or some professors [who] are intolerant of certain       Commented [LA7]: Same as above there are
                                                                                  suggests 1, some is more than 1
political and social viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are courses in which the professor creates an environment
that is hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                                                    FSU000925
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On your campus, how often are students encouraged to consider a wider variety of viewpoints and
perspectives?
____Very frequently
____Frequently
____Occasionally
____Rarely
____Very rarely
____Never
15

Freedom of Expression on My Campus
Think about being at your school in a class that was discussing a NON-
CONTROVERSIAL issue. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about RACE. How comfortable or reluctant would you feel about speaking
up and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
POLITICAL issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?
        I would be very comfortable giving my views
        I would be somewhat comfortable giving my views
        Neutral
        I would be somewhat reluctant giving my views
        I would be very reluctant giving my views




                                                                                                  FSU000926
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Think about being at your school in a class that was discussing a controversial
issue about RELIGION. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about GENDER. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Think about being at your school in a class that was discussing a controversial
issue about SEXUAL ORIENTATION. How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?
      I would be very comfortable giving my views
      I would be somewhat comfortable giving my views
      Neutral
      I would be somewhat reluctant giving my views
      I would be very reluctant giving my views
Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Democrat
    Independent
    Republican
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1. Extremely liberal




                                                                                     FSU000927
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     2.   Somewhat liberal
     3.   Moderate leaning liberal
     4.   Moderate
     5.   Moderate leaning conservative
     6.   Somewhat conservative
     7.   Extremely conservative


Do we want any of the consequences –I also find what the report does that
students are very worried about each other?
7.

I believe that through hard work, everybody can succeed in American society.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA8]: Not sure about keeping

I believe that racial discrimination is no longer a major problem in America.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA9]: Consider cutting

I believe that undocumented immigrants should be denied access to public
education.
         Strongly Agree
         Somewhat Agree
         Neutral
         Somewhat Disagree
         Strongly Disagree
         Don’t Know                                                            Commented [LA10]: Consider cutting




                                                                                                             FSU000928
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I believe that that universities have the right to ban extreme speakers from
campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that dissent is a critical component of the political process.       Commented [LA11]: Dissent….debate?

      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that colleges should prohibit racist/sexist speech on campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know                                                              Commented [LA12]: Cut?

Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
Are you of Hispanic, Latino/a/x, or Spanish origin?




                                                                                                           FSU000929
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    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist




                                                                                FSU000930
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        Hindu
        Other religion
        Atheist
        Agnostic
        No religious affiliation / None
        Prefer Not to Answer


Class rank
Freshman
Sophomore
Junior
Senior
Graduate


Major (pull down) –Heterodox has the following:


Business Health Profession Social Science Engineering Biological Science Arts Education
Humanities Physical Science Mathematics/ Statistics Religion/ Theology Something else Prefer
not to say Total




Should we consider these:


Thinking about STUDENTS at your college/university, would you say most are politically to the left of you
(more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me
____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know
Thinking about FACULTY at your college/university, would you say most are politically to the left of you
(more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me




                                                                                                            FSU000931
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____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know
Thinking about ADMINISTRATORS at your college/university, would you say most are politically to the left of
you (more liberal) or politically to the right of you (more conservative)?
____Most are to the left of me
____Most are to the right of me
____Most have positions close to mine
____ About as many are to the left of me as to the right of me
____Don’t know




Appendix C: Viewpoint Diversity Module. –Considers implications
14

Not sure about these.

Consequence Items If you were to speak up and give your views on one of these CONTROVERSIAL
issues during a class discussion, how concerned would you be that the following would occur :


The professor would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
The professor would give me a lower grade because of my views.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned _
___Extremely concerned



The professor would say my views are wrong.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned




                                                                                                              FSU000932
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____Extremely concerned

Other students would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Someone would post critical comments about my views on social media.
____Not at all concerned
____Slightly concerned
____Somewhat concerned _
___Very concerned
____Extremely concerned

Someone would file a complaint claiming that my views violated a campus harassment policy or   Commented [LA13]: Not sure this applies here or
code of conduct.                                                                               not.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
 ___Extremely concerned

Think about being at your school in a class that was discussing a NON-CONTROVERSIAL
issue.
How comfortable or reluctant would you feel about speaking up and giving your views on this
topic?
____I would be very comfortable giving my views. _
  ___I would be somewhat comfortable giving my views.
____I would be somewhat reluctant giving my views.
____I would be very reluctant giving my views. I
f you were to speak up and give your views about a NON-CONTROVERSIAL issue during a
class discussion, how concerned would you be that the following would occur:
The professor would criticize my views as offensive.
____Not at all concerned _
___Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
The professor would give me a lower grade because of my views.
____Not at all concerned
____Slightly concerned _
___Somewhat concerned
____Very concerned
____Extremely concerned
The professor would say my views are wrong.




                                                                                                                             FSU000933
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____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Other students would criticize my views as offensive.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned
Someone would post critical comments about my views on social media.
____Not at all concerned
____Slightly concerned
____Somewhat concerned
____Very concerned
____Extremely concerned





                                                                               FSU000934
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
The goal of this anonymous survey is to obtain opinions on intellectual freedom
and viewpoint diversity at [university name], drawing on your experiences as a
staff member there. You will be asked a number of questions about these topics
and about yourself. Your participation is voluntary. You are free not to answer any
question or to withdraw from the study at any time. This survey should take
approximately 10 minutes to complete.
Responses will be analyzed for the entire institution and findings will be reported
by the FLBOG to the State Legislature as required. Only grouped responses will be
reported; any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                        FSU001290
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On my campus, academic programs are intolerant of certain political and social
viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are academic programs that create an environment that is
hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Freedom of Expression on Campus
Think about a time within your home unit in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion




                                                                                  FSU001291
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Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion




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Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
I believe that through hard work, everybody can succeed in American society.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
I believe that racial discrimination is no longer a major problem in America.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
I believe that undocumented immigrants should be denied access to public
education.
    Strongly Agree
    Somewhat Agree




                                                                                     FSU001293
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      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that colleges have the right to ban extreme speakers from campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that dissent is a critical component of the political process.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
I believe that colleges should prohibit racist/sexist speech on campus.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Demographic Information
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander




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    Mixed
    Other
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian




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    Unitarian / Universalist
    Jewish
    Muslim
    Buddhist
    Hindu
    Other religion
    Atheist
    Agnostic
    No religious affiliation / None
    Prefer Not to Answer




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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 which is intended to
promote Intellectual Freedom and Viewpoint Diversity within the State of
Florida’s State University System. The Florida Board of Governors (FLBOG) was
asked to create “an objective, nonpartisan, and statistically valid survey to be
used by each institution which considers the extent to which competing ideas and
perspectives are presented and members of the college community, including
students, faculty, and staff, feel free to express their beliefs and viewpoints on
campus and in the classroom.”
The goal of this survey is to obtain opinions on intellectual freedom and viewpoint
diversity at [your university], drawing on your experiences as a student there. You
will be asked a number of questions about these topics and about yourself. Your
participation is voluntary. You are free to not answer any question or to withdraw
from the study at any time. This survey should take approximately 10 minutes to
complete. Survey data will be stored at a secured location and retained
indefinitely.
Responses will be analyzed and categorical and statistical trends will be reported
by the FLBOG to the State Legislature as required by Florida Statute. Only grouped
responses will be reported; any data or results that might compromise a
respondent’s identity will not be shared.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




                                                                                      FSU001544
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On my campus, many academic programs are intolerant of certain political and
social viewpoints.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
On my campus, there are academic programs that create an environment that is
hostile to certain political or social views.
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know


Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Through hard work, everybody can succeed in American society




                                                                                     FSU001545
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      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Racial discrimination is no longer a major problem in America
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Undocumented immigrants should be denied access to public education
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Colleges have the right to ban extreme speakers from campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Dissent is a critical component of the political process
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree




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    Strongly Disagree
    Don’t Know
Colleges should prohibit racist/sexist speech on campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know


Freedom of Expression on Campus
Think about a time within your home unit in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Race
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Politics
was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?




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      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Religion was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on
Gender was being discussed. How comfortable or reluctant would you feel about
contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about a time within your home unit in which a controversial issue on Sexual
Orientation was being discussed. How comfortable or reluctant would you feel
about contributing to the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Demographic Information
With which sex or gender identity do you most identify?




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      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu




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      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer




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                        EXHIBIT II
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                 Faculty Survey
Opening Message for Survey
In Spring 2021, the Florida Legislature passed HB233 which is intended to
promote Intellectual Freedom and Viewpoint Diversity within the State of
Florida’s State University System. The Florida Board of Governors (FLBOG) was
asked to create “an objective, nonpartisan, and statistically valid survey to be
used by each institution which considers the extent to which competing ideas and
perspectives are presented and members of the college community, including
students, faculty, and staff, feel free to express their beliefs and viewpoints on
campus and in the classroom.”
The goal of this survey is to obtain opinions on intellectual freedom and viewpoint
diversity at [your university], drawing on your experiences as a student there. You
will be asked a number of questions about these topics and about yourself. Your
participation is voluntary. You are free to not answer any question or to withdraw
from the study at any time. This survey should take approximately 10 minutes to
complete. Survey data will be stored at a secured location and retained
indefinitely.
Responses will be analyzed and categorical and statistical trends will be reported
by the FLBOG to the State Legislature as required by Florida Statute. Only grouped
responses will be reported; any data or results that might compromise a
respondent’s identity will not be shared.
Intellectual Freedom and Viewpoint Diversity on My Campus
On my campus, panel discussions and presentations on social and political issues
typically seem one-sided.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




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On my campus, many courses have readings which present only one side of a
controversial issue.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many courses present social and political issues in an unfair and
one-sided manner.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, many professors are intolerant of certain political and social
viewpoints.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
On my campus, there are many courses in which the professor creates an
environment that is hostile to certain political or social views.
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know




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Your Political Views
Generally speaking, you would say that you think of yourself as a…
    Republican
    Independent
    Democrat
On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?
   1.   Extremely liberal
   2.   Somewhat liberal
   3.   Moderate leaning liberal
   4.   Moderate
   5.   Moderate leaning conservative
   6.   Somewhat conservative
   7.   Extremely conservative
Through hard work, everybody can succeed in American society
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Racial discrimination is no longer a major problem in America
       Strongly Agree
       Somewhat Agree
       Neutral
       Somewhat Disagree
       Strongly Disagree
       Don’t Know
Undocumented immigrants should be denied access to public education
    Strongly Agree
    Somewhat Agree
    Neutral




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    Somewhat Disagree
    Strongly Disagree
    Don’t Know
Colleges have the right to ban extreme speakers from campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Dissent is a critical component of the political process
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know
Colleges should prohibit racist/sexist speech on campus
      Strongly Agree
      Somewhat Agree
      Neutral
      Somewhat Disagree
      Strongly Disagree
      Don’t Know


Freedom of Expression on Campus
Think about teaching a class session that centered upon a discussion of a non-
controversial issue. How comfortable or reluctant would you feel about leading
the discussion on this topic?
    I would be very comfortable leading this discussion
    I would be somewhat comfortable leading this discussion
    Neutral




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    I would be somewhat reluctant leading this discussion
    I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Race. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial Political issue. How comfortable or reluctant would you feel about
leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Religion. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Gender. How comfortable or reluctant would you feel
about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion




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    I would be very reluctant leading this discussion
Think about teaching a class session that centered upon a discussion of a
controversial issue on Sexual Orientation. How comfortable or reluctant would
you feel about leading the discussion on this topic?
      I would be very comfortable leading this discussion
      I would be somewhat comfortable leading this discussion
      Neutral
      I would be somewhat reluctant leading this discussion
      I would be very reluctant leading this discussion


Demographic Information
With which sex or gender identity do you most identify?
      Female/Woman
      Male/Man
      Transgender Female/Woman
      Transgender Male/Man
      Gender Variant/Non-conforming
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply
      American Indian or Alaska Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer




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What is your primary religious affiliation, if any?
      Evangelical Protestant
      Mainline Protestant
      Historically Black Protestant
      Catholic
      Latter Day Saints / Mormon
      Orthodox Christian
      Jehovah’s Witness
      Other Christian
      Unitarian / Universalist
      Jewish
      Muslim
      Buddhist
      Hindu
      Other religion
      Atheist
      Agnostic
      No religious affiliation / None
      Prefer Not to Answer
What is your sexual orientation?
      Heterosexual/Straight
      Asexual
      Bisexual
      Gay
      Lesbian
      Pansexual
      Queer
      Not Listed Above
      Prefer Not to Answer




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